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1                                                                  Honorable Ronald B. Leighton

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7
                            UNITED STATES DISTRICT COURT
8                          WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
9

10   MARTY PAUL, an individual; and
     BRIAN BUSKIRK, an individual,                   No. 3:16-cv-05616-RBL
11
                            Plaintiffs,              DECLARATION OF ELIZABETH S.
12                                                   WEINSTEIN IN OPPOSITION TO
             v.                                      DEFENDANTS’ MOTION FOR
13                                                   PARTIAL SUMMARY JUDGMENT
     RBC CAPITAL MARKETS, LLC, a                     AND IN SUPPORT OF PLAINTIFFS’
14   Minnesota limited liability company;            RULE 56(D) MOTION
     ROYAL BANK OF CANADA, a
15   Canadian corporation; and ROYAL                 NOTE ON MOTION CALENDAR:
     BANK OF CANADA US WEALTH                        October 20, 2017
16   ACCUMULATION PLAN, an employee
     benefit plan,                                   ORAL ARGUMENT REQUESTED
17
                            Defendants.
18

19          I, ELIZABETH S. WEINSTEIN, declare as follows:
20          1.      I am one of the attorneys representing Plaintiffs Marty Paul and Brian
21   Buskirk in this action. I make this declaration based on my personal knowledge and on
22   records maintained by my firm with respect to the above-captioned matter.
23          2.      On September 13, 2017, Plaintiffs served on Defendants RBC Capital
24   Markets and Royal Bank of Canada (collectively, “RBC”) Plaintiffs’ Third and Fourth
25   Interrogatories and Plaintiffs’ Fourth Requests for Production.
26


     DECL WEINSTEIN IN OPPOSITION TO
     DEFENDANTS’ MOTION FOR PARTIAL SJ AND IN                             1420 FIFTH AVENUE, SUITE 1400
     SUPPORT OF PLAINTIFFS’ RULE 56(D) MOTION                               SEATTLE W ASHINGTON 98101
                                                                           T 206.516.3800 F 206.516.3888
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1           3.      On October 13, 2017, RBC served on Plaintiffs Defendants’ Consolidated

2    Responses and Objections to Plaintiffs’ Third and Fourth Interrogatories and Defendants’

3    Consolidated Responses and Objections to Plaintiffs’ Fourth Requests for Production.

4           4.      Attached hereto as Exhibit 1 is a true and correct copy of Defendants’

5    Consolidated Responses and Objections to Plaintiffs’ Third and Fourth Interrogatories

6    dated October 13, 2017.

7           5.      Attached hereto as Exhibit 2 is a true and correct copy of Defendants’

8    Consolidated Responses and Objections to Plaintiffs’ Fourth Requests for Production dated

9    October 13, 2017.

10          6.      In certain interrogatories, Plaintiffs seek information related to what

11   percentage of WAP distributions each year were elected for in-service distributions versus

12   distributions at or after separation. That information is related to the inquiry, under 29

13   U.S.C. § 1002(2)(A), of whether a plan “as a result of surrounding circumstances…(i)

14   provides retirement income to employees, or (ii) results in a deferral of income by

15   employees for periods extending to the termination of covered employment or beyond”

16   because it shows what portion of WAP assets provided or resulted in post-separation

17   income to employees.

18                  a. Interrogatory No. 7 seeks the percentage of WAP assets elected for in-

19                       service distribution for each year 2005 to the present. See Ex. 1 at 2.

20                  b. Interrogatory No. 8 seeks the percentage of WAP assets elected for

21                       distribution after separation for each year 2005 to the present. See Ex. 1

22                       at 4.

23                  c. RBC responded that it “will undertake reasonable efforts to identify and

24                       provide information responsive” to these interrogatories, “if it exists” for

25                       each year 2005 to 2011.
26


     DECL WEINSTEIN IN OPPOSITION TO
     DEFENDANTS’ MOTION FOR PARTIAL SJ AND IN                                1420 FIFTH AVENUE, SUITE 1400
     SUPPORT OF PLAINTIFFS’ RULE 56(D) MOTION                                  SEATTLE W ASHINGTON 98101
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1           7.     In certain interrogatories and requests for production, Plaintiffs seek

2    information and documents related to the composition of WAP funds by contribution type,

3    i.e. Matching Contributions, Discretionary Contributions, Mandatory Deferred

4    Compensation, and Voluntary Deferred Compensation. That information is directly

5    relevant to RBC’s argument that the WAP is a bonus plan because it will show how much

6    of the WAP is composed of contributions that could be characterized as bonuses, and how

7    much of the WAP is composed of contributions that cannot be characterized as bonuses.

8    Whereas Discretionary Contributions could be characterized as bonuses, Matching

9    Contributions (made by RBC in an amount matching WAP participants’ voluntary

10   contributions), Mandatory Deferred Compensation (made by WAP participants) and

11   Voluntary Deferred Compensation (made by WAP participants) cannot plausibly be

12   characterized as bonuses.

13                 a. Interrogatory No. 9 and Request for Production Nos. 98 and 99 seek

14                     information and documents related to Mandatory Deferred

15                     Compensation for each year 2005 to the present. RBC responded that it

16                     “will undertake reasonable efforts” to identify and provide or produce

17                     responsive information and documents, “if it exists,” for each year 2005

18                     to 2011.

19                 b. Interrogatory No. 10 and Request for Productions Nos. 100 and 101 seek

20                     information and documents related to Discretionary Contributions for

21                     each year 2005 to the present. RBC responded that it “will undertake

22                     reasonable efforts” to identify and provide or produce responsive

23                     information and documents, “if it exists,” for each year 2005 to 2011.

24                 c. Interrogatory No. 11 and Request for Production Nos. 102 and 103 seek

25                     information and documents related to Mandatory Deferred
26                     Compensation for each year 2005 to the present. RBC responded that it


     DECL WEINSTEIN IN OPPOSITION TO
     DEFENDANTS’ MOTION FOR PARTIAL SJ AND IN                              1420 FIFTH AVENUE, SUITE 1400
     SUPPORT OF PLAINTIFFS’ RULE 56(D) MOTION                                SEATTLE W ASHINGTON 98101
                                                                            T 206.516.3800 F 206.516.3888
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1                       “will undertake reasonable efforts” to identify and provide or produce

2                       responsive information and documents, “if it exists,” for each year 2005

3                       to 2011.

4                   d. Interrogatory No. 12 and Request for Production Nos. 104 and 105 seek

5                       information and documents related to Voluntary Deferred Compensation

6                       from 2005 to the present. RBC responded that it “will undertake

7                       reasonable efforts” to identify and provide or produce responsive

8                       information and documents, “if it exists,” for each year 2005 to 2011.

9                   e. Request for Production No. 106 seeks documents showing the value of

10                      all assets in the WAP for each year 2005 to the present. RBC responded

11                      that it “will undertake reasonable efforts to identify and provide

12                      information responsive” to this interrogatory, if it exists, for each year

13                      2005 to 2011.

14          8.      Attached hereto as Exhibit 3 is a true and correct copy of Defendants’ Reply

15   in Support of Their Motion for Summary Judgment filed on March 26, 2012 in Tolbert v.

16   RBC Capital Markets Corp., et al., No. 4:11-CV-107 (USDC SD Tex.), and produced in

17   this matter by Defendants as RBC-PAUL000010100-27.

18          9.      Attached hereto as Exhibit 4 is a true and correct copy of Defendants’

19   Motion for Summary Judgment and Brief in Support filed on January 26, 2012 in Tolbert v.

20   RBC Capital Markets Corp., et al., No. 4:11-CV-107 (USDC SD Tex.), and produced in

21   this matter by Defendants as RBC-PAUL000009947-10001.

22          10.     Attached hereto as Exhibit 5 is a true and correct copy of the Brief of

23   Defendants-Appellees filed on October 16, 2013 in Tolbert v. RBC Capital Markets Corp.,

24   et al., No. 13-20213 (5th Cir.).

25          I declare under penalty of perjury of the laws of the United States of America that
26   the foregoing is true and correct.


     DECL WEINSTEIN IN OPPOSITION TO
     DEFENDANTS’ MOTION FOR PARTIAL SJ AND IN                                1420 FIFTH AVENUE, SUITE 1400
     SUPPORT OF PLAINTIFFS’ RULE 56(D) MOTION                                  SEATTLE W ASHINGTON 98101
                                                                              T 206.516.3800 F 206.516.3888
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1         Dated: October 20, 2017, at Seattle, Washington.

2

3                                              s/Elizabeth S. Weinstein
                                               Elizabeth S. Weinstein
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     DECL WEINSTEIN IN OPPOSITION TO
     DEFENDANTS’ MOTION FOR PARTIAL SJ AND IN                        1420 FIFTH AVENUE, SUITE 1400
     SUPPORT OF PLAINTIFFS’ RULE 56(D) MOTION                          SEATTLE W ASHINGTON 98101
                                                                      T 206.516.3800 F 206.516.3888
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                 Case 3:16-cv-05616-RBL Document 31 Filed 10/20/17 Page 6 of 199



1                                          CERTIFICATE OF SERVICE
2                    I hereby certify that on this date, I electronically filed the foregoing document with

3         the Clerk of the Court using the CM/ECF system, which will send notification of such filing

4         to the following:

5         PERKINS COIE LLP
          Kevin J. Hamilton
6
          William B. Stafford
7         1201 Third Avenue, Suite 4900
          Seattle, WA 98101-3099
8         Email: khamilton@perkinscoie.com
                  wstafford@perkinscoie.com
9
          MORGAN, LEWIS & BOCKIUS LLP
10
          Sari M. Alamuddin, pro hac vice
11        Christopher J. Boran, pro hac vice
          Matthew A. Russell, pro hac vice
12        77 West Wacker Drive, Fifth Floor
          Chicago, IL 60601
13        Email: sari.alamuddin@morganlewis.com
                 christopher.boran@morganlewis.com
14
                 matthew.russell@morganlewis.com
15
          Attorneys for Defendants RBC Capital
16        Markets, LLC, Royal Bank of Canada, and
          Royal Bank of Canada US Wealth
17        Accumulation Plan
18

19                   I declare under penalty of perjury under the laws of the State of Washington that the

20        foregoing is true and correct.

21                   Dated: October 20, 2017 at Seattle, Washington.

22                                                         s/Sue Stephens
                                                           Sue Stephens, Legal Assistant
23

24

25
26


          DECL WEINSTEIN IN OPPOSITION TO
          DEFENDANTS’ MOTION FOR PARTIAL SJ AND IN                                  1420 FIFTH AVENUE, SUITE 1400
          SUPPORT OF PLAINTIFFS’ RULE 56(D) MOTION                                    SEATTLE W ASHINGTON 98101
                                                                                     T 206.516.3800 F 206.516.3888
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                         EXHIBIT 1
DECL WEINSTEIN OPPO DEFS’ MTN PARTIAL SJ AND
ISO PLTFS’ RULE 56(D) MOTION
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                                                                                 Honorable Ronald B. Leighton

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 5                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 6                                           AT TACOMA
 7   MARTY PAUL, an individual; and                             Case No. 3:16-cv-05616-RBL
     BRIAN BUSKIRK, an individual,
 8                                                              DEFENDANTS’ CONSOLIDATED
                          Plaintiff,                            RESPONSES AND OBJECTIONS TO
 9                                                              PLAINTIFFS’ THIRD AND FOURTH
             v.                                                 INTERROGATORIES
10
     RBC CAPITAL MARKETS, LLC, a
11   Minnesota limited liability company;
     ROYAL BANK OF CANADA, a
12   Canadian corporation; and ROYAL
     BANK OF CANADA US WEALTH
13   ACCUMULATION PLAN, an employee
     Benefit plan,
14

15                        Defendants.

16

17           Pursuant to Federal Rules of Civil Procedure 26 and 33, Defendants RBC Capital

18   Markets, LLC and the Royal Bank of Canada (collectively referred to as “Defendants”), by and

19   through their attorneys, Morgan, Lewis & Bockius LLP, provide the following objections and

20   responses to the Third and Fourth Interrogatories made by Plaintiffs Marty Paul (“Paul”) and

21   Brian Buskirk (“Buskirk), (collectively referred to as “Plaintiffs”).1

22

23

24   1
      Plaintiffs issued a separate Third Interrogatory to Defendant Royal Bank of Canada and a Fourth Interrogatory to
     Defendant RBC Capital Markets, which were identical except for the identity of the Defendant. Therefore, with the
25   consent of plaintiffs’ counsel, Defendants have consolidated their responses and objections to each set of
     Interrogatories into this single document.
26
     DEFENDANTS’ CONSOLIDATED RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ THIRD AND FOURTH INTERROGATORIES                                        MORGAN, LEWIS & BOCKIUS LLP
                                                                                                77 W. Wacker Drive
     NO. 3:16-CV-05616-RBL - PAGE 1                                                              Chicago, IL 60601
     DECL WEINSTEIN OPPO DEFS’ MTN PARTIAL SJ AND                                                 +1.312.324.1000
     ISO PLTFS’ RULE 56(D) MOTION
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                                       GENERAL OBJECTIONS

 1          1.      Defendants object to these Interrogatories to the extent they seek attorney work

 2   product, information or communications protected by the attorney-client privilege or any other

 3   applicable privilege, confidentiality, or immunity provided by law, trial preparation materials,

 4   and/or information beyond the scope of Rule 26 of the Federal Rules of Civil Procedure. The

 5   responses to these Interrogatories, or parts thereof, are not intended to be and shall not be

 6   deemed a waiver of the attorney-client privilege, the work product rule, or any other applicable

 7   privilege.

 8          2.      Defendants object to these Interrogatories to the extent they attempt to alter or

 9   expand the requirements of the Federal Rules of Civil Procedure, the Court’s Local Rules, or any

10   other applicable law.

11          3.      Defendant’s responses are based only upon such information and documents as

12   are presently available to it. Defendant’s investigation is continuing, and it expressly reserves

13   the right to supplement and/or amend its responses and objections to these Interrogatories as may

14   be appropriate in light of additional information obtained in connection with its continuing

15   investigation of this case, and to use such information in any hearing or proceeding.

16
              SPECIFIC OBJECTIONS AND RESPONSES TO THIRD AND FOURTH
17                              INTERROGATORIES
18

19   INTERROGATORY NO. 7:
20          For each year from 2005 to the present, what percentage of all WAP assets were elected
21   for in-service distribution?
22   RESPONSE TO INTERROGATORY NO. 7:
23          Defendants object to this Interrogatory on the grounds it is vague, ambiguous, overbroad,
24   and not proportional to the needs of this case. In particular, the phrase “all WAP assets” is
25   unclear, vague, and ambiguous, particularly insofar as there are no “WAP assets” because the
26
     DEFENDANTS’ CONSOLIDATED RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ THIRD AND FOURTH INTERROGATORIES                             MORGAN, LEWIS & BOCKIUS LLP
                                                                                    77 West Wacker Drive
     NO. 3:16-CV-05616-RBL - PAGE 2                                                   Chicago, IL 60601
     DECL WEINSTEIN OPPO DEFS’ MTN PARTIAL SJ AND                                      +1.312.324.1000
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     WAP is an unfunded plan in which participants have only notional accounts. This Interrogatory

 1   also is unclear as to what “WAP assets” it refers (for example, it may be read to refer to the total

 2   outstanding WAP liabilities at a given point in time, the total “WAP assets” contributed in each

 3   year referenced by this Request, or some other amount or information), further rendering this

 4   Interrogatory unclear, overbroad, not relevant to any party’s claim or defense in this matter, and

 5   not proportional to the needs of the case. Defendants further object to this Interrogatory on the

 6   grounds that it seeks information that is overbroad, not relevant to any party’s claim or defense

 7   in this matter, and not proportional to the needs of the case. In particular, Defendants object to

 8   this Interrogatory to the extent it seeks the requested information after the WAP was frozen to all

 9   new contributions as of January 1, 2012, as plaintiffs do not assert any claims with respect to

10   their participation in the WAP after January 1, 2012. As such, identifying the information sought

11   by this Interrogatory is neither proportional to the needs of this case nor has any bearing upon the

12   parties’ claims and defenses in this lawsuit. Defendants further object to this Interrogatory to the

13   extent it purports to seek separate responses regarding each year from 2005 to the present and,

14   therefore, contains multiple discrete subparts. Without waiving such objection, Defendants will

15   respond to this Interrogatory, but reserves the right to object to further interrogatories to the

16   extent they exceed the maximum number of interrogatories permitted by Fed. R. Civ. P. 33.

17          Subject to and without waiving the foregoing specific and general objections, Defendants

18   respond that they will undertake reasonable efforts to identify and provide information

19   responsive to this Interrogatory, if it exists, reflecting the percentage of the total assets

20   contributed to the WAP in each year from 2005 to 2011 for which participants elected an “in-

21   service” distribution. By way of further response, Defendants also direct plaintiffs to paragraph

22   six of the January 25, 2012 declaration of Gabriella Sikich, provided in the matter of Tolbert, et

23   al. v. RBC Capital Markets, Corp., et al., No. 4:11-cv-00107 (S.D. Tex.), which was produced in

24   this matter and sets forth the number and percentage of participants who elected to receive in-

25   service distributions of their WAP contributions in each year from 2007 to 2011.

26
     DEFENDANTS’ CONSOLIDATED RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ THIRD AND FOURTH INTERROGATORIES                             MORGAN, LEWIS & BOCKIUS LLP
                                                                                    77 West Wacker Drive
     NO. 3:16-CV-05616-RBL - PAGE 3                                                   Chicago, IL 60601
     DECL WEINSTEIN OPPO DEFS’ MTN PARTIAL SJ AND                                      +1.312.324.1000
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 1   INTERROGATORY NO. 8:

 2          For each year from 2005 to the present, what percentage of all WAP assets were elected

 3   for distribution after separation?

 4   RESPONSE TO INTERROGATORY NO. 8:

 5          Defendants object to this Interrogatory on the grounds it is vague, ambiguous, overbroad,

 6   and not proportional to the needs of this case. In particular, the phrase “all WAP assets” is

 7   unclear, vague, and ambiguous, particularly insofar as there are no “WAP assets” because the

 8   WAP is an unfunded plan in which participants have only notional accounts. This Interrogatory

 9   also is unclear as to what “WAP assets” it refers (for example, it may be read to refer to the total

10   outstanding WAP liabilities at a given point in time, the total “WAP assets” contributed in each

11   year referenced by this Request, or some other amount or information), further rendering this

12   Interrogatory unclear, overbroad, not relevant to any party’s claim or defense in this matter, and

13   not proportional to the needs of the case. Defendants further object to this Interrogatory on the

14   grounds that it seeks information that is overbroad, not relevant to any party’s claim or defense

15   in this matter, and not proportional to the needs of the case. In particular, Defendants object to

16   this Interrogatory to the extent it seeks the requested information after the WAP was frozen to all

17   new contributions as of January 1, 2012, as plaintiffs do not assert any claims with respect to

18   their participation in the WAP after January 1, 2012. As such, identifying the information sought

19   by this Interrogatory is neither proportional to the needs of this case nor has any bearing upon the

20   parties’ claims and defenses in this lawsuit. Defendants further object to this Interrogatory to the

21   extent it purports to seek separate responses regarding each year from 2005 to the present and,

22   therefore, contains multiple discrete subparts. Without waiving such objection, Defendants will

23   respond to this Interrogatory, but reserves the right to object to further interrogatories to the

24   extent they exceed the maximum number of interrogatories permitted by Fed. R. Civ. P. 33.

25          Subject to and without waiving the foregoing specific and general objections, Defendants

26
     DEFENDANTS’ CONSOLIDATED RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ THIRD AND FOURTH INTERROGATORIES                             MORGAN, LEWIS & BOCKIUS LLP
                                                                                    77 West Wacker Drive
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     DECL WEINSTEIN OPPO DEFS’ MTN PARTIAL SJ AND                                      +1.312.324.1000
     ISO PLTFS’ RULE 56(D) MOTION
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     respond that they will undertake reasonable efforts to identify and provide information

 1   responsive to this Interrogatory, if it exists, reflecting the percentage of the total assets

 2   contributed to the WAP in each year from 2005 to 2011 for which participants elected a

 3   distribution upon separation. By way of further response, Defendants also direct plaintiffs to

 4   paragraph six of the January 25, 2012 declaration of Gabriella Sikich, provided in the matter of

 5   Tolbert, et al. v. RBC Capital Markets, Corp., et al., No. 4:11-cv-00107 (S.D. Tex.), which sets

 6   forth the number and percentage of participants who elected to receive distributions of their

 7   WAP contributions upon separation in each year from 2007 to 2011.

 8

 9   INTERROGATORY NO. 9:

10          For each year from 2005 to the present, what percentage of all WAP assets were derived

11   from Matching Contributions (as “Matching Contribution” is defined in the WAP)?

12   RESPONSE TO INTERROGATORY NO. 9:

13          Defendants object to this Interrogatory on the grounds it is vague, ambiguous, overbroad,

14   and not proportional to the needs of this case. In particular, the phrase “all WAP assets” is

15   unclear, vague, and ambiguous, particularly insofar as there are no “WAP assets” because the

16   WAP is an unfunded plan in which participants have only notional accounts. This Interrogatory

17   also is unclear as to what “WAP assets” it refers (for example, it may be read to refer to the total

18   outstanding WAP liabilities at a given point in time, the total “WAP assets” contributed in each

19   year referenced by this Request, or some other amount or information), further rendering this

20   Interrogatory unclear, overbroad, not relevant to any party’s claim or defense in this matter, and

21   not proportional to the needs of the case. Defendants further object to this Interrogatory on the

22   grounds that it seeks information that is overbroad, not relevant to any party’s claim or defense

23   in this matter, and not proportional to the needs of the case. In particular, Defendants object to

24   this Interrogatory to the extent it seeks the requested information after the WAP was frozen to all

25   new contributions as of January 1, 2012, as plaintiffs do not assert any claims with respect to

26
     DEFENDANTS’ CONSOLIDATED RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ THIRD AND FOURTH INTERROGATORIES                             MORGAN, LEWIS & BOCKIUS LLP
                                                                                    77 West Wacker Drive
     NO. 3:16-CV-05616-RBL - PAGE 5                                                   Chicago, IL 60601
     DECL WEINSTEIN OPPO DEFS’ MTN PARTIAL SJ AND                                      +1.312.324.1000
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     their participation in the WAP after January 1, 2012. As such, identifying the information sought

 1   by this Interrogatory is neither proportional to the needs of this case nor has any bearing upon the

 2   parties’ claims and defenses in this lawsuit. Defendants further object to this Interrogatory to the

 3   extent it purports to seek separate responses regarding each year from 2005 to the present and,

 4   therefore, contains multiple discrete subparts. Without waiving such objection, Defendants will

 5   respond to this Interrogatory, but reserves the right to object to further interrogatories to the

 6   extent they exceed the maximum number of interrogatories permitted by Fed. R. Civ. P. 33.

 7          Subject to and without waiving the foregoing specific and general objections, Defendants

 8   respond that they will undertake reasonable efforts to identify and provide information

 9   responsive to this Interrogatory, if it exists, reflecting the amount of Matching Contributions

10   RBC made to the WAP in each year from 2005 to 2011 and for which such data or information

11   still exists, from which plaintiffs may calculate the percentage sought by this Interrogatory.

12

13   INTERROGATORY NO. 10:

14          For each year from 2005 to the present, what percentage of all WAP assets were derived

15   from Discretionary Contributions (as “Discretionary Contribution” is defined in the WAP)?

16   RESPONSE TO INTERROGATORY NO. 10:

17          Defendants object to this Interrogatory on the grounds it is vague, ambiguous, overbroad,

18   and not proportional to the needs of this case. In particular, the phrase “all WAP assets” is

19   unclear, vague, and ambiguous, particularly insofar as there are no “WAP assets” because the

20   WAP is an unfunded plan in which participants have only notional accounts. This Interrogatory

21   also is unclear as to what “WAP assets” it refers (for example, it may be read to refer to the total

22   outstanding WAP liabilities at a given point in time, the total “WAP assets” contributed in each

23   year referenced by this Request, or some other amount or information), further rendering this

24   Interrogatory unclear, overbroad, not relevant to any party’s claim or defense in this matter, and

25   not proportional to the needs of the case. Defendants further object to this Interrogatory on the

26
     DEFENDANTS’ CONSOLIDATED RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ THIRD AND FOURTH INTERROGATORIES                              MORGAN, LEWIS & BOCKIUS LLP
                                                                                     77 West Wacker Drive
     NO. 3:16-CV-05616-RBL - PAGE 6                                                    Chicago, IL 60601
     DECL WEINSTEIN OPPO DEFS’ MTN PARTIAL SJ AND                                       +1.312.324.1000
     ISO PLTFS’ RULE 56(D) MOTION
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     grounds that it seeks information that is overbroad, not relevant to any party’s claim or defense

 1   in this matter, and not proportional to the needs of the case. In particular, Defendants object to

 2   this Interrogatory to the extent it seeks the requested information after the WAP was frozen to all

 3   new contributions as of January 1, 2012, as plaintiffs do not assert any claims with respect to

 4   their participation in the WAP after January 1, 2012. As such, identifying the information sought

 5   by this Interrogatory is neither proportional to the needs of this case nor has any bearing upon the

 6   parties’ claims and defenses in this lawsuit. Defendants further object to this Interrogatory to the

 7   extent it purports to seek separate responses regarding each year from 2005 to the present and,

 8   therefore, contains multiple discrete subparts. Without waiving such objection, Defendants will

 9   respond to this Interrogatory, but reserves the right to object to further interrogatories to the

10   extent they exceed the maximum number of interrogatories permitted by Fed. R. Civ. P. 33.

11          Subject to and without waiving the foregoing specific and general objections, Defendants

12   respond that they will undertake reasonable efforts to identify and provide information

13   responsive to this Interrogatory, if it exists, reflecting the amount of Discretionary Contributions

14   RBC made to the WAP in each year from 2005 to 2011 and for which such data or information

15   still exists, from which plaintiffs may calculate the percentage sought by this Interrogatory.

16

17   INTERROGATORY NO. 11:

18          For each year from 2005 to the present, what percentage of all WAP assets were derived

19   from Mandatory Deferred Compensation (as “Mandatory Deferred Compensation” is defined in

20   the WAP)?

21   RESPONSE TO INTERROGATORY NO. 11:

22          Defendants object to this Interrogatory on the grounds it is vague, ambiguous, overbroad,

23   and not proportional to the needs of this case. In particular, the phrase “all WAP assets” is

24   unclear, vague, and ambiguous, particularly insofar as there are no “WAP assets” because the

25   WAP is an unfunded plan in which participants have only notional accounts. This Interrogatory

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     DEFENDANTS’ CONSOLIDATED RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ THIRD AND FOURTH INTERROGATORIES                              MORGAN, LEWIS & BOCKIUS LLP
                                                                                     77 West Wacker Drive
     NO. 3:16-CV-05616-RBL - PAGE 7                                                    Chicago, IL 60601
     DECL WEINSTEIN OPPO DEFS’ MTN PARTIAL SJ AND                                       +1.312.324.1000
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     also is unclear as to what “WAP assets” it refers (for example, it may be read to refer to the total

 1   outstanding WAP liabilities at a given point in time, the total “WAP assets” contributed in each

 2   year referenced by this Request, or some other amount or information), further rendering this

 3   Interrogatory unclear, overbroad, not relevant to any party’s claim or defense in this matter, and

 4   not proportional to the needs of the case. Defendants further object to this Interrogatory on the

 5   grounds that it seeks information that is overbroad, not relevant to any party’s claim or defense

 6   in this matter, and not proportional to the needs of the case. In particular, Defendants object to

 7   this Interrogatory to the extent it seeks the requested information after the WAP was frozen to all

 8   new contributions as of January 1, 2012, as plaintiffs do not assert any claims with respect to

 9   their participation in the WAP after January 1, 2012. As such, identifying the information sought

10   by this Interrogatory is neither proportional to the needs of this case nor has any bearing upon the

11   parties’ claims and defenses in this lawsuit. Defendants further object to this Interrogatory to the

12   extent it purports to seek separate responses regarding each year from 2005 to the present and,

13   therefore, contains multiple discrete subparts. Without waiving such objection, Defendants will

14   respond to this Interrogatory, but reserves the right to object to further interrogatories to the

15   extent they exceed the maximum number of interrogatories permitted by Fed. R. Civ. P. 33.

16          Subject to and without waiving the foregoing specific and general objections, Defendants

17   respond that they will undertake reasonable efforts to identify and provide information

18   responsive to this Interrogatory, if it exists, reflecting the amount of Mandatory Deferred

19   Compensation made into the WAP in each year from 2005 to 2011 and for which such data or

20   information still exists, from which plaintiffs may calculate the percentage sought by this

21   Interrogatory.

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26
     DEFENDANTS’ CONSOLIDATED RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ THIRD AND FOURTH INTERROGATORIES                             MORGAN, LEWIS & BOCKIUS LLP
                                                                                    77 West Wacker Drive
     NO. 3:16-CV-05616-RBL - PAGE 8                                                   Chicago, IL 60601
     DECL WEINSTEIN OPPO DEFS’ MTN PARTIAL SJ AND                                      +1.312.324.1000
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     INTERROGATORY NO. 12:

 1          For each year from 2005 to the present, what percentage of all WAP assets were derived

 2   from Voluntary Deferred Compensation (as “Voluntary Deferred Compensation” is defined in

 3   the WAP)?

 4   RESPONSE TO INTERROGATORY NO. 12:

 5          Defendants object to this Interrogatory on the grounds it is vague, ambiguous, overbroad,

 6   and not proportional to the needs of this case. In particular, the phrase “all WAP assets” is

 7   unclear, vague, and ambiguous, particularly insofar as there are no “WAP assets” because the

 8   WAP is an unfunded plan in which participants have only notional accounts. This Interrogatory

 9   also is unclear as to what “WAP assets” it refers (for example, it may be read to refer to the total

10   outstanding WAP liabilities at a given point in time, the total “WAP assets” contributed in each

11   year referenced by this Request, or some other amount or information), further rendering this

12   Interrogatory unclear, overbroad, not relevant to any party’s claim or defense in this matter, and

13   not proportional to the needs of the case. Defendants further object to this Interrogatory on the

14   grounds that it seeks information that is overbroad, not relevant to any party’s claim or defense

15   in this matter, and not proportional to the needs of the case. In particular, Defendants object to

16   this Interrogatory to the extent it seeks the requested information after the WAP was frozen to all

17   new contributions as of January 1, 2012, as plaintiffs do not assert any claims with respect to

18   their participation in the WAP after January 1, 2012. As such, identifying the information sought

19   by this Interrogatory is neither proportional to the needs of this case nor has any bearing upon the

20   parties’ claims and defenses in this lawsuit. Defendants further object to this Interrogatory to the

21   extent it purports to seek separate responses regarding each year from 2005 to the present and,

22   therefore, contains multiple discrete subparts. Without waiving such objection, Defendants will

23   respond to this Interrogatory, but reserves the right to object to further interrogatories to the

24   extent they exceed the maximum number of interrogatories permitted by Fed. R. Civ. P. 33.

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26
     DEFENDANTS’ CONSOLIDATED RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ THIRD AND FOURTH INTERROGATORIES                             MORGAN, LEWIS & BOCKIUS LLP
                                                                                    77 West Wacker Drive
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     DECL WEINSTEIN OPPO DEFS’ MTN PARTIAL SJ AND                                      +1.312.324.1000
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            Subject to and without waiving the foregoing specific and general objections, Defendants

 1   respond that they will undertake reasonable efforts to identify and provide information
 2
     responsive to this Interrogatory, if it exists, reflecting the amount of Voluntary Deferred
 3
     Compensation made into the WAP in each year from 2005 to 2011 and for which such data or
 4
     information still exists, from which plaintiffs may calculate the percentage sought by this
 5

 6   Interrogatory.

 7

 8   Dated: October 13, 2017

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     DEFENDANTS’ CONSOLIDATED RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ THIRD AND FOURTH INTERROGATORIES                              MORGAN, LEWIS & BOCKIUS LLP
                                                                                     77 West Wacker Drive
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 1                                   RULE 26(g) CERTIFICATION

 2          The undersigned attorney has read the foregoing Responses and Objections to
 3   Plaintiffs’ Third and Fourth Interrogatories to Defendants, and certifies that the responses
 4   and objections are in compliance with Federal Rule of Civil Procedures 26(g).
 5          DATED: October 13, 2017.
 6                                                 MORGAN, LEWIS & BOCKIUS LLP
 7                                                 By: /s/ Matthew A. Russell
 8                                                     Sari M. Alamuddin (admitted pro hac vice)
                                                       Christopher J. Boran (admitted pro hac vice)
 9                                                     Matthew A. Russell (admitted pro hac vice)
10                                                 77 West Wacker Drive, Fifth Floor
                                                   Chicago, IL 60601
11                                                 Phone: 312.324.1000
                                                   Fax: 312.323.1001
12                                                 Email: sari.alamuddin@morganlewis.com
                                                           christopher.boran@morganlewis.com
13                                                         matthew.russell@morganlewis.com
14                                                 Attorneys for Defendants RBC Capital Markets,
                                                   LLC, Royal Bank of Canada, and Royal Bank of
15                                                 Canada US Wealth Accumulation Plan
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26   DEFENDANTS’ CONSOLIDATED RESPONSES AND OBJECTIONS
     TO PLAINTIFFS’ THIRD AND FOURTH INTERROGATORIES
     NO. 3:16-CV-05616-RBL - PAGE 1                                               MORGAN, LEWIS & BOCKIUS LLP
                                                                                      77 W. Wacker Drive
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 1                                   CERTIFICATE OF SERVICE
 2          I hereby certify that on this date, I served this document on all parties of record via e-mail
 3
     on October 13, 2017.
 4
                   YARMUTH WILSDON PLLC
 5
                   Jeremy E. Roller, WSBA No. 32021
 6                 Elizabeth S. Weinstein, WSBA No. 45763
                   1420 Fifth Avenue, Suite 1400
 7
                   Seattle, WA 98101
 8                 Phone: 206.516.3800
                   Fax: 206.516.3888
 9                 Email: jroller@yarmuth.com
                            eweinstein@yarmuth.com
10

11          Attorneys for Plaintiffs Marty Paul and Brian Buskirk
12

13
                                                           /s/ Matthew A. Russell
14
                                                           Matthew A. Russell
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     DEFENDANTS’ CONSOLIDATED RESPONSES AND OBJECTIONS                          MORGAN, LEWIS & BOCKIUS LLP
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                          EXHIBIT 2
DECL WEINSTEIN OPPO DEFS’ MTN PARTIAL SJ AND
ISO PLTFS’ RULE 56(D) MOTION
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                                                                                   Honorable Ronald B. Leighton

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 5                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 6                                            AT TACOMA
 7   MARTY PAUL, an individual; and                              Case No. 3:16-cv-05616-RBL
     BRIAN BUSKIRK, an individual,
 8                                                               DEFENDANTS’ CONSOLIDATED
                           Plaintiff,                            RESPONSES AND OBJECTIONS TO
 9                                                               PLAINTIFFS’ FOURTH REQUESTS FOR
              v.                                                 PRODUCTION
10
     RBC CAPITAL MARKETS, LLC, a
11   Minnesota limited liability company;
     ROYAL BANK OF CANADA, a
12   Canadian corporation; and ROYAL
     BANK OF CANADA US WEALTH
13   ACCUMULATION PLAN, an employee
     Benefit plan,
14

15                         Defendants.

16

17            Pursuant to Federal Rules of Civil Procedure 26 and 34, Defendants RBC Capital

18   Markets, LLC and the Royal Bank of Canada (collectively referred to as “Defendants”), by and

19   through their attorneys, Morgan, Lewis & Bockius LLP, provide the following objections and

20   answers to the Fourth Requests for Production of Documents made by Plaintiffs Marty Paul

21   (“Paul”) and Brian Buskirk (“Buskirk), (collectively referred to as “Plaintiffs”).1 Subject to the

22   objections and responses set forth below, Defendants will produce copies of documents

23   responsive to Plaintiffs’ Fourth Requests for Production as soon as practicable.

24
     1
25     Plaintiffs issued separate Fourth Requests for Production to RBC Capital Markets, LLC and the Royal Bank of
     Canada, which were identical except for the identity of the Defendant. Therefore, with the consent of plaintiffs’
26   counsel, Defendants have consolidated their responses and objections to each set of Requests for Production into this
     single document.


     DEFENDANTS’ CONSOLIDATED RESPONSES AND OBJECTIONS                                      MORGAN, LEWIS & BOCKIUS LLP
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                                        GENERAL OBJECTIONS

 1          The following General Objections apply to each of Plaintiffs’ Fourth Requests for

 2   Production of Documents (“Requests”) and are expressly incorporated by reference as part of the

 3   responses to each of the Requests. The responses to the Requests are subject to and do not waive

 4   the following General Objections, regardless of whether a General Objection or specific

 5   objection is stated in the response.

 6          1.      Defendants object to these Requests to the extent they seek:          attorney work

 7   product, information or communications protected by the attorney-client privilege or any other

 8   applicable rule of privilege, confidentiality, or immunity provided by law, trial preparation

 9   materials, identification or production of documents prepared in anticipation of litigation and/or

10   after the commencement of this litigation, and/or documents beyond the scope of Rule 26 of the

11   Federal Rules of Civil Procedure. Any response to any Request, or a part thereof, is not intended

12   to be and shall not be deemed a waiver of the attorney-client privilege, the work product rule, or

13   any other applicable privilege.

14          2.      Defendants object to each Request to the extent it seeks information that cannot

15   be disclosed without violating the right to privacy of Defendants, their agents and/or employees,

16   and/or any other person or entity that is otherwise privileged or immune from discovery.

17          3.      Defendants object to these Requests to the extent they attempt to alter or expand

18   the requirements of the Federal Rules of Civil Procedure, the Court’s Local Rules, or any other

19   applicable law.

20          4.      Defendants object to the Document Requests to the extent that they are overbroad

21   as to time and scope and/or to the extent that they purport to require the production of

22   information and documents which are not within Defendants’ possession, custody or control; are

23   immaterial; are irrelevant; and/or which are neither relevant to the claims or defenses at issue nor

24   proportional to the needs of the case.

25          5.      Defendants object to the Requests to the extent that they call for information that

26   is confidential, proprietary, or invades the legitimate privacy interests of third parties.

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     Defendants will produce such information pursuant to the agreed upon confidentiality order

 1   governing this matter.

 2          6.        A response that Defendants will produce responsive documents is not an

 3   indication that such documents exist, but only a representation that, subject to and limited by the

 4   objections (specifically including all General Objections), non-privileged responsive documents

 5   will be made available if they do exist.

 6          7.        The fact that Defendants have provided documents in response to part or all of

 7   any individual Document Request is not intended and shall not be construed to be (a) a waiver of

 8   all or part of any objection to any individual Document Request, or (b) an indication that such

 9   documents are not also responsive to other individual Document Requests.

10          8.        The responses made herein to the Discovery Requests and the production of

11   documents in response thereto in no way waive:

12               a.      Defendants’ objections to competency, relevancy, materiality, privilege or
                         admissibility of any such Document Request, of the response thereto, or of
13
                         any document or information referred to or produced pursuant to the
14                       Document Request or response;

15               b.      Defendants’ objections to the use of such responses or documents, or to the
                         subject matter thereof, in any proceeding, including the trial of this or any
16                       other action; or
17               c.      Defendants’ objections to any other or future document or discovery requests.
18
            9.        Defendants’ responses are based only upon such information and documents as
19
     are presently available to them. Defendants’ investigation is continuing, and they expressly
20
     reserve the right to supplement and/or amend their responses and objections to these Requests as
21
     may be appropriate in light of additional information and/or documents obtained or reviewed in
22
     connection with its continuing investigation of this case, and to use such information or
23
     documents in any hearing or proceeding.
24

25
        SPECIFIC OBJECTIONS AND RESPONSES TO REQUESTS FOR PRODUCTION
26

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 1   REQUEST FOR PRODUCTION NO. 90:

 2          Please produce all amendments to, revisions to, and/or restatements of the New WAP.

 3   RESPONSE TO REQUEST FOR PRODUCTION NO. 90:

 4          Defendants object to this Request to the extent that it seeks confidential and privileged

 5   information protected by the attorney-client privilege and/or work product doctrine, particularly

 6   insofar as this Request purports to seek draft documents prepared by or with the advice of

 7   counsel. Defendants further object to this Request on the grounds that the phrase “revisions to”

 8   is vague, ambiguous, and renders this Request unclear, overbroad, not relevant to any party’s

 9   claim or defense in this matter, and not proportional to the needs of the case. Defendants also

10   object to this Request on the grounds that it seeks information that is overbroad, not relevant to

11   any party’s claim or defense in this matter, and not proportional to the needs of the case. Among

12   other things, plaintiffs do not challenge or raise any claims with respect to the “New WAP”;

13   neither plaintiff forfeited any funds under the “New WAP”; and Defendants have already

14   produced the only version of the “New WAP” to which either plaintiff even could have been

15   subject (the Bates number of which plaintiffs’ Fourth Requests for Production cites specifically).

16   In light of the foregoing objections, as well as Defendants’ production of the “New WAP”

17   already cited by plaintiffs’ Fourth Requests for Production, Defendants will not be producing

18   additional documents in response to this Request.

19

20   REQUEST FOR PRODUCTION NO. 91:

21          Please produce all documents describing the qualifications to become or remain a

22   participant in the New WAP from January 1, 2012 to the present.

23   RESPONSE TO REQUEST FOR PRODUCTION NO. 91:

24          Defendants object to this Request to the extent that it seeks confidential and privileged

25   information protected by the attorney-client privilege and/or work product doctrine, particularly

26   insofar as this Request purports to seek any and “all documents” that in any way “describ[e] the

     DEFENDANTS’ CONSOLIDATED RESPONSES AND OBJECTIONS                       MORGAN, LEWIS & BOCKIUS LLP
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     qualifications” for the “New WAP.” Defendants further object to this Request on the grounds

 1   that the phrases “to become” and “remain” are vague, ambiguous, and renders this Request

 2   unclear, overbroad, not relevant to any party’s claim or defense in this matter, and not

 3   proportional to the needs of the case. Defendants also object to this Request on the grounds that

 4   it seeks information that is overbroad, not relevant to any party’s claim or defense in this matter,

 5   and not proportional to the needs of the case. Among other things, plaintiffs do not challenge or

 6   raise any claims with respect to the “New WAP”; neither plaintiff forfeited any funds under the

 7   “New WAP”; Defendants have already produced the only version of the “New WAP” to which

 8   either plaintiff even could have been subject (the Bates number of which plaintiffs’ Fourth

 9   Requests for Production cites specifically); and plaintiffs have deposed RBC witnesses

10   concerning the “qualifications” for the “New WAP,” including the eligibility requirements for

11   both production and non-production employees. As such, searching for and identifying “all

12   documents” responsive to this Request is not proportional to the needs of this case and, the

13   qualifications related to the “New WAP” do not bear upon the parties’ claims and defenses. In

14   light of the foregoing objections, Defendants will not be producing additional documents in

15   response to this Request.

16

17   REQUEST FOR PRODUCTION NO. 92:

18          Please produce all documents reflecting the number of participants in the New WAP

19   from January 1, 2012 to the present.

20   RESPONSE TO REQUEST FOR PRODUCTION NO. 92:

21          Defendants object to this Request on the grounds that the phrase “documents reflecting”

22   is vague, ambiguous, and renders this Request unclear, overbroad, not relevant to any party’s

23   claim or defense in this matter, and not proportional to the needs of the case, as such phrase

24   could be read to encompass any number or variety of documents or data pertaining to the “New

25   WAP.” Defendants also object to this Request on the grounds that it seeks information that is

26   overbroad, not relevant to any party’s claim or defense in this matter, and not proportional to the

     DEFENDANTS’ CONSOLIDATED RESPONSES AND OBJECTIONS                         MORGAN, LEWIS & BOCKIUS LLP
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     needs of the case. Among other things, plaintiffs do not challenge or raise any claims with

 1   respect to the “New WAP”; neither plaintiff forfeited any funds under the “New WAP”;

 2   Defendants have already produced the only version of the “New WAP” to which either plaintiff

 3   even could have been subject (the Bates number of which plaintiffs’ Fourth Requests for

 4   Production cites specifically); and plaintiffs have deposed RBC witnesses concerning the “New

 5   WAP.” As such, searching for and identifying “all documents reflecting” the information sought

 6   by this Request is not proportional to the needs of this case and, the “number of participants in

 7   the New WAP” has no bearing upon the parties’ claims and defenses in this lawsuit. In light of

 8   the foregoing objections, Defendants will not be producing additional documents in response to

 9   this Request.

10

11   REQUEST FOR PRODUCTION NO. 93:

12          Please produce all documents reflecting the percentage of all Employers’ United States-

13   based employees who were eligible to participate in the New WAP for each plan year from

14   January 1, 2012 to the present.

15   RESPONSE TO REQUEST FOR PRODUCTION NO. 93:

16          Defendants object to this Request on the grounds that the phrase “documents reflecting”

17   is vague, ambiguous, and renders this Request unclear, overbroad, not relevant to any party’s

18   claim or defense in this matter, and not proportional to the needs of the case, as such phrase

19   could be read to encompass an number or variety of documents or data pertaining to the “New

20   WAP.” Defendants also object to this Request on the grounds that it seeks information that is

21   overbroad, not relevant to any party’s claim or defense in this matter, and not proportional to the

22   needs of the case. Among other things, plaintiffs do not challenge or raise any claims with

23   respect to the “New WAP”; neither plaintiff forfeited any funds under the “New WAP”;

24   Defendants have already produced the only version of the “New WAP” to which either plaintiff

25   even could have been subject (the Bates number of which plaintiffs’ Fourth Requests for

26   Production cites specifically); and plaintiffs have deposed RBC witnesses concerning the “New

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     WAP.” As such, searching for and identifying “all documents reflecting” the information sought

 1   by this Request is not proportional to the needs of this case and, the “percentage of all

 2   Employees’ United States-based employees who were eligible to participate in the New WAP”

 3   has no bearing upon the parties’ claims and defenses in this lawsuit. In light of the foregoing

 4   objections, Defendants will not be producing additional documents in response to this Request.

 5

 6   REQUEST FOR PRODUCTION NO. 94:

 7          Please produce all documents disclosing, discussing, and/or explaining New WAP

 8   eligibility criteria or requirements for each plan year from January 1, 2012 to the present.

 9   RESPONSE TO REQUEST FOR PRODUCTION NO. 94:

10          Defendants object to this Request on the grounds that it seeks confidential and privileged

11   information protected by the attorney-client privilege and work product doctrine. Defendants

12   further object to this Request on the grounds that the phrases “disclosing”, “discussing” and

13   “explaining” are vague, ambiguous, and renders this Request unclear, overbroad, not relevant to

14   any party’s claim or defense in this matter, and not proportional to the needs of the case, as such

15   phrase could be read to encompass any number or variety of documents pertaining to the “New

16   WAP” and contains no limitations with respect to the author, intended recipients, or otherwise.

17   Defendants also object to this Request on the grounds that it seeks information that is overbroad,

18   not relevant to any party’s claim or defense in this matter, and not proportional to the needs of

19   the case. Among other things, plaintiffs do not challenge or raise any claims with respect to the

20   “New WAP”; neither plaintiff forfeited any funds under the “New WAP”; Defendants have

21   already produced the only version of the “New WAP” to which either plaintiff even could have

22   been subject (the Bates number of which plaintiffs’ Fourth Requests for Production cites

23   specifically); and plaintiffs have deposed RBC witnesses concerning the “New WAP.” As such,

24   searching for and identifying “all documents disclosing, discussing, and/or explaining” the

25   information sought by this Request is neither proportional to the needs of this case nor has any

26   bearing upon the parties’ claims and defenses in this lawsuit. In light of the foregoing objections,

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     Defendants will not be producing additional documents in response to this Request.

 1

 2   REQUEST FOR PRODUCTION NO. 95:

 3          Please produce all documents that reflect the average annual compensation of employees

 4   who were eligible to participate in the New WAP for each plan year from January 1, 2012 to the

 5   present.

 6   RESPONSE TO REQUEST FOR PRODUCTION NO. 95:

 7          Defendants object to this Request on the grounds that it seeks confidential and privileged

 8   information protected by the attorney-client privilege and work product doctrine. Defendants

 9   further object to this Request on the grounds that the phrase “reflect the average annual

10   compensation” is vague, ambiguous, and renders this Request unclear, overbroad, not relevant to

11   any party’s claim or defense in this matter, and not proportional to the needs of the case.

12   Defendants also object to this Request on the grounds that it seeks information that is overbroad,

13   not relevant to any party’s claim or defense in this matter, and not proportional to the needs of

14   the case. Among other things, plaintiffs do not challenge or raise any claims with respect to the

15   “New WAP”; neither plaintiff forfeited any funds under the “New WAP”; Defendants have

16   already produced the only version of the “New WAP” to which either plaintiff even could have

17   been subject (the Bates number of which plaintiffs’ Fourth Requests for Production cites

18   specifically); and plaintiffs have deposed RBC witnesses concerning the “New WAP.” As such,

19   searching for and identifying “all documents that reflect” the information sought by this Request

20   is neither proportional to the needs of this case nor has any bearing upon the parties’ claims and

21   defenses in this lawsuit. In light of the foregoing objections, Defendants will not be producing

22   additional documents in response to this Request.

23

24   REQUEST FOR PRODUCTION NO. 96:

25          Please produce documents sufficient to show the production level required to qualify for

26   President Council from Fiscal Year 2011 to the present.

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     RESPONSE TO REQUEST FOR PRODUCTION NO. 96:

 1          Defendants object to this Request on the grounds that the phrase “sufficient to show” is

 2   vague, ambiguous, and renders this Request unclear, overbroad, not relevant to any party’s claim

 3   or defense in this matter, and not proportional to the needs of the case. Defendants also object to

 4   this Request on the grounds that it seeks information that is overbroad, not relevant to any

 5   party’s claim or defense in this matter, and not proportional to the needs of the case. In

 6   particular, plaintiffs do not assert any claims with respect to their participation in the WAP after

 7   January 1, 2012, as plaintiff Paul terminated employment with RBC in 2011, and plaintiff

 8   Buskirk terminated employment with RBC in 2012. Accordingly, searching for and identifying

 9   “documents sufficient to show” the information sought by this Request is neither proportional to

10   the needs of this case nor has any bearing upon the parties’ claims and defenses in this lawsuit,

11   particularly insofar as it seeks documents and information created after plaintiffs left RBC.

12   Without waiving the foregoing objections, Defendants direct plaintiffs to the 2011 FC

13   Compensation Plan (RBC-Paul 000006679-6710), which states estimated production thresholds

14   to qualify for the 2011 President’s Council (see, e.g., RBC-Paul 000006683, 000006689). In

15   light of the foregoing objections and response, Defendants will not be producing additional

16   documents in response to this Request.

17

18   REQUEST FOR PRODUCTION NO. 97:

19          Please produce documents sufficient to show the production level required to qualify for

20   Chairman Council from Fiscal Year 2011 to the present.

21   RESPONSE TO REQUEST FOR PRODUCTION NO. 97:

22          Defendants object to this Request on the grounds that the phrase “sufficient to show” is

23   vague, ambiguous, and renders this Request unclear, overbroad, not relevant to any party’s claim

24   or defense in this matter, and not proportional to the needs of the case. Defendants also object to

25   this Request on the grounds that it seeks information that is overbroad, not relevant to any

26   party’s claim or defense in this matter, and not proportional to the needs of the case. In

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     particular, plaintiffs do not assert any claims with respect to their participation in the WAP after

 1   January 1, 2012, as plaintiff Paul terminated employment with RBC in 2011, and plaintiff

 2   Buskirk terminated employment with RBC in 2012. Accordingly, searching for and identifying

 3   “documents sufficient to show” the information sought by this Request is neither proportional to

 4   the needs of this case nor has any bearing upon the parties’ claims and defenses in this lawsuit,

 5   particularly insofar as it seeks documents and information created after plaintiffs left RBC.

 6   Without waiving the foregoing objections, Defendants direct plaintiffs to the 2011 FC

 7   Compensation Plan (RBC-Paul 000006679-6710), which states estimated production thresholds

 8   to qualify for the 2011 Chairman’s Council (see, e.g., RBC-Paul 000006683, 000006689). In

 9   light of the foregoing objections and response, Defendants will not be producing additional

10   documents in response to this Request.

11

12   REQUEST FOR PRODUCTION NO. 98:

13          For each year from 2005 to the present, please produce documents sufficient to show the

14   value of WAP assets derived from Matching Contributions (as “Matching Contribution” is

15   defined in the WAP).

16   RESPONSE TO REQUEST FOR PRODUCTION NO. 98:

17          Defendants object to this Request on the grounds that the phrases “sufficient to show”

18   and “WAP assets” are vague, ambiguous, and render this Request unclear, overbroad, not

19   relevant to any party’s claim or defense in this matter, and not proportional to the needs of the

20   case. Defendants further object to this Request on the grounds that there are no “WAP assets,”

21   insofar as the WAP is an unfunded plan in which participants have only notional accounts, and

22   the Request is unclear as to what “WAP assets” it refers (for example, the total of all outstanding

23   WAP liabilities at a given point in time, the “WAP assets” RBC contributed in each year

24   referenced by this Request, or some other amount or information), further rendering this Request

25   unclear, overbroad, not relevant to any party’s claim or defense in this matter, and not

26   proportional to the needs of the case. Defendants also object to this Request on the grounds that

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     it seeks information that is overbroad, not relevant to any party’s claim or defense in this matter,

 1   and not proportional to the needs of the case, to the extent it seeks the requested information after

 2   the WAP was frozen to all new contributions as of January 1, 2012, as plaintiffs do not assert any

 3   claims with respect to their participation in the WAP after January 1, 2012. As such, searching

 4   for and identifying all “documents sufficient to show” the information sought by this Request is

 5   neither proportional to the needs of this case nor has any bearing upon the parties’ claims and

 6   defenses in this lawsuit.

 7          Subject to and without waiving these objections and the General Objections above,

 8   Defendants will undertake reasonable efforts to identify and produce documents responsive to

 9   this Request, if any exist, reflecting the amount of Matching Contributions RBC made to the

10   WAP in each year from 2005 to 2011 and for which such data or information still exists.

11

12   REQUEST FOR PRODUCTION NO. 99:

13          For each year from 2005 to the present, please produce documents sufficient to show the

14   percentage of WAP assets derived from Matching Contributions (as “Matching Contribution” is

15   defined in the WAP).

16   RESPONSE TO REQUEST FOR PRODUCTION NO. 99:

17          Defendants object to this Request on the grounds that the phrases “sufficient to show”

18   and “WAP assets” are vague, ambiguous, and render this Request unclear, overbroad, not

19   relevant to any party’s claim or defense in this matter, and not proportional to the needs of the

20   case. Defendants further object to this Request on the grounds that there are no “WAP assets,”

21   insofar as the WAP is an unfunded plan in which participants have only notional accounts, and

22   the Request is unclear as to what “WAP assets” it refers (for example, the total of all outstanding

23   WAP liabilities at a given point in time, the “WAP assets” RBC contributed in each year

24   referenced by this Request, or some other amount or information), further rendering this Request

25   unclear, overbroad, not relevant to any party’s claim or defense in this matter, and not

26   proportional to the needs of the case. Defendants also object to this Request on the grounds that

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     it seeks information that is overbroad, not relevant to any party’s claim or defense in this matter,

 1   and not proportional to the needs of the case, to the extent it seeks the requested information after

 2   the WAP was frozen to all new contributions as of January 1, 2012, as plaintiffs do not assert any

 3   claims with respect to their participation in the WAP after January 1, 2012. As such, searching

 4   for and identifying all “documents sufficient to show” the information sought by this Request is

 5   neither proportional to the needs of this case nor has any bearing upon the parties’ claims and

 6   defenses in this lawsuit.

 7          Subject to and without waiving these objections and the General Objections above,

 8   Defendants will undertake reasonable efforts to identify and produce documents responsive to

 9   this Request, if any exist, reflecting the amount of Matching Contributions RBC made to the

10   WAP in each year from 2005 to 2011 and for which such data or information still exists, from

11   which plaintiffs may calculate the percentage of total WAP contributions.

12

13   REQUEST FOR PRODUCTION NO. 100:

14          For each year from 2005 to the present, please produce documents sufficient to show the

15   value of WAP assets derived from Discretionary Contributions (as “Discretionary Contribution”

16   is defined in the WAP).

17   RESPONSE TO REQUEST FOR PRODUCTION NO. 100:

18          Defendants object to this Request on the grounds that the phrases “sufficient to show”

19   and “WAP assets” are vague, ambiguous, and render this Request unclear, overbroad, not

20   relevant to any party’s claim or defense in this matter, and not proportional to the needs of the

21   case. Defendants further object to this Request on the grounds that there are no “WAP assets,”

22   insofar as the WAP is an unfunded plan in which participants have only notional accounts, and

23   the Request is unclear as to what “WAP assets” it refers (for example, the total of all outstanding

24   WAP liabilities at a given point in time, the “WAP assets” RBC contributed in each year

25   referenced by this Request, or some other amount or information), further rendering this Request

26   unclear, overbroad, not relevant to any party’s claim or defense in this matter, and not

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     proportional to the needs of the case. Defendants also object to this Request on the grounds that

 1   it seeks information that is overbroad, not relevant to any party’s claim or defense in this matter,

 2   and not proportional to the needs of the case, to the extent it seeks the requested information after

 3   the WAP was frozen to all new contributions as of January 1, 2012, as plaintiffs do not assert any

 4   claims with respect to their participation in the WAP after January 1, 2012. As such, searching

 5   for and identifying all “documents sufficient to show” the information sought by this Request is

 6   neither proportional to the needs of this case nor has any bearing upon the parties’ claims and

 7   defenses in this lawsuit.

 8          Subject to and without waiving these objections and the General Objections above,

 9   Defendants will undertake reasonable efforts to identify and produce documents responsive to

10   this Request, if any exist, reflecting the amount of Discretionary Contributions RBC made to the

11   WAP in each year from 2005 to 2011 and for which such data or information still exists.

12

13   REQUEST FOR PRODUCTION NO. 101:

14          For each year from 2005 to the present, please produce documents sufficient to show the

15   percentage of WAP assets derived from Discretionary Contributions (as “Discretionary

16   Contribution” is defined in the WAP).

17   RESPONSE TO REQUEST FOR PRODUCTION NO. 101:

18          Defendants object to this Request on the grounds that the phrases “sufficient to show”

19   and “WAP assets” are vague, ambiguous, and render this Request unclear, overbroad, not

20   relevant to any party’s claim or defense in this matter, and not proportional to the needs of the

21   case. Defendants further object to this Request on the grounds that there are no “WAP assets,”

22   insofar as the WAP is an unfunded plan in which participants have only notional accounts, and

23   the Request is unclear as to what “WAP assets” it refers (for example, the total of all outstanding

24   WAP liabilities at a given point in time, the “WAP assets” RBC contributed in each year

25   referenced by this Request, or some other amount or information), further rendering this Request

26   unclear, overbroad, not relevant to any party’s claim or defense in this matter, and not

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     proportional to the needs of the case. Defendants also object to this Request on the grounds that

 1   it seeks information that is overbroad, not relevant to any party’s claim or defense in this matter,

 2   and not proportional to the needs of the case, to the extent it seeks the requested information after

 3   the WAP was frozen to all new contributions as of January 1, 2012, as plaintiffs do not assert any

 4   claims with respect to their participation in the WAP after January 1, 2012. As such, searching

 5   for and identifying all “documents sufficient to show” the information sought by this Request is

 6   neither proportional to the needs of this case nor has any bearing upon the parties’ claims and

 7   defenses in this lawsuit.

 8          Subject to and without waiving these objections and the General Objections above,

 9   Defendants will undertake reasonable efforts to identify and produce documents responsive to

10   this Request, if any exist, reflecting the amount of Discretionary Contributions RBC made to the

11   WAP in each years from 2005 to 2011 and for which such data or information still exists, from

12   which plaintiffs may calculate the percentage of total WAP contributions.

13

14   REQUEST FOR PRODUCTION NO. 102:

15          For each year from 2005 to the present, please produce documents sufficient to show the

16   value of WAP assets derived from Mandatory Deferred Compensation (as “Mandatory Deferred

17   Compensation” is defined in the WAP).

18   RESPONSE TO REQUEST FOR PRODUCTION NO. 102:

19          Defendants object to this Request on the grounds that the phrases “sufficient to show”

20   and “WAP assets” are vague, ambiguous, and render this Request unclear, overbroad, not

21   relevant to any party’s claim or defense in this matter, and not proportional to the needs of the

22   case. Defendants further object to this Request on the grounds that there are no “WAP assets,”

23   insofar as the WAP is an unfunded plan in which participants have only notional accounts, and

24   the Request is unclear as to what “WAP assets” it refers (for example, the total of all outstanding

25   WAP liabilities at a given point in time, the “WAP assets” RBC contributed in each year

26   referenced by this Request, or some other amount or information), further rendering this Request

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     unclear, overbroad, not relevant to any party’s claim or defense in this matter, and not

 1   proportional to the needs of the case. Defendants also object to this Request on the grounds that

 2   it seeks information that is overbroad, not relevant to any party’s claim or defense in this matter,

 3   and not proportional to the needs of the case, to the extent it seeks the requested information after

 4   the WAP was frozen to all new contributions as of January 1, 2012, as plaintiffs do not assert any

 5   claims with respect to their participation in the WAP after January 1, 2012. As such, searching

 6   for and identifying all “documents sufficient to show” the information sought by this Request is

 7   neither proportional to the needs of this case nor has any bearing upon the parties’ claims and

 8   defenses in this lawsuit.

 9          Subject to and without waiving these objections and the General Objections above,

10   Defendants will undertake reasonable efforts to identify and produce documents responsive to

11   this Request, if any exist, reflecting the amount of Mandatory Deferred Compensation made into

12   the WAP in each year from 2005 to 2011 and for which such data or information still exists.

13

14   REQUEST FOR PRODUCTION NO. 103:

15          For each year from 2005 to the present, please produce documents sufficient to show the

16   percentage of WAP assets derived from Mandatory Deferred Compensation (as “Mandatory

17   Deferred Compensation” is defined in the WAP).

18   RESPONSE TO REQUEST FOR PRODUCTION NO. 103:

19          Defendants object to this Request on the grounds that the phrases “sufficient to show”

20   and “WAP assets” are vague, ambiguous, and render this Request unclear, overbroad, not

21   relevant to any party’s claim or defense in this matter, and not proportional to the needs of the

22   case. Defendants further object to this Request on the grounds that there are no “WAP assets,”

23   insofar as the WAP is an unfunded plan in which participants have only notional accounts, and

24   the Request is unclear as to what “WAP assets” it refers (for example, the total of all outstanding

25   WAP liabilities at a given point in time, the “WAP assets” RBC contributed in each year

26   referenced by this Request, or some other amount or information), further rendering this Request

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     unclear, overbroad, not relevant to any party’s claim or defense in this matter, and not

 1   proportional to the needs of the case. Defendants also object to this Request on the grounds that

 2   it seeks information that is overbroad, not relevant to any party’s claim or defense in this matter,

 3   and not proportional to the needs of the case, to the extent it seeks the requested information after

 4   the WAP was frozen to all new contributions as of January 1, 2012, as plaintiffs do not assert any

 5   claims with respect to their participation in the WAP after January 1, 2012. As such, searching

 6   for and identifying all “documents sufficient to show” the information sought by this Request is

 7   neither proportional to the needs of this case nor has any bearing upon the parties’ claims and

 8   defenses in this lawsuit.

 9          Subject to and without waiving these objections and the General Objections above,

10   Defendants will undertake reasonable efforts to identify and produce documents responsive to

11   this Request, if any exist, reflecting the amount of Mandatory Deferred Compensation made into

12   the WAP in each year from 2005 to 2011 and for which such data or information still exists,

13   from which plaintiffs may calculate the percentage of total WAP contributions.

14

15   REQUEST FOR PRODUCTION NO. 104:

16          For each year from 2005 to the present, please produce documents sufficient to show the

17   value of WAP assets derived from Voluntary Deferred Compensation (as “Voluntary Deferred

18   Compensation” is defined in the WAP).

19   RESPONSE TO REQUEST FOR PRODUCTION NO. 104:

20          Defendants object to this Request on the grounds that the phrases “sufficient to show”

21   and “WAP assets” are vague, ambiguous, and render this Request unclear, overbroad, not

22   relevant to any party’s claim or defense in this matter, and not proportional to the needs of the

23   case. Defendants further object to this Request on the grounds that there are no “WAP assets,”

24   insofar as the WAP is an unfunded plan in which participants have only notional accounts, and

25   the Request is unclear as to what “WAP assets” it refers (for example, the total of all outstanding

26   WAP liabilities at a given point in time, the “WAP assets” RBC contributed in each year

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     referenced by this Request, or some other amount or information), further rendering this Request

 1   unclear, overbroad, not relevant to any party’s claim or defense in this matter, and not

 2   proportional to the needs of the case. Defendants also object to this Request on the grounds that

 3   it seeks information that is overbroad, not relevant to any party’s claim or defense in this matter,

 4   and not proportional to the needs of the case, to the extent it seeks the requested information after

 5   the WAP was frozen to all new contributions as of January 1, 2012, as plaintiffs do not assert any

 6   claims with respect to their participation in the WAP after January 1, 2012. As such, searching

 7   for and identifying all “documents sufficient to show” the information sought by this Request is

 8   neither proportional to the needs of this case nor has any bearing upon the parties’ claims and

 9   defenses in this lawsuit.

10          Subject to and without waiving these objections and the General Objections above,

11   Defendants will undertake reasonable efforts to identify and produce documents responsive to

12   this Request, if any exist, reflecting the amount of Voluntary Deferred Compensation made into

13   the WAP in each year from 2005 to 2011 and for which such data or information still exists.

14   REQUEST FOR PRODUCTION NO. 105:

15          For each year from 2005 to the present, please produce documents sufficient to show the

16   percentage of WAP assets derived from Voluntary Deferred Compensation (as “Voluntary

17   Deferred Compensation” is defined in the WAP).

18   RESPONSE TO REQUEST FOR PRODUCTION NO. 105:

19          Defendants object to this Request on the grounds that the phrases “sufficient to show”

20   and “WAP assets” are vague, ambiguous, and render this Request unclear, overbroad, not

21   relevant to any party’s claim or defense in this matter, and not proportional to the needs of the

22   case. Defendants further object to this Request on the grounds that there are no “WAP assets,”

23   insofar as the WAP is an unfunded plan in which participants have only notional accounts, and

24   the Request is unclear as to what “WAP assets” it refers (for example, the total of all outstanding

25   WAP liabilities at a given point in time, the “WAP assets” RBC contributed in each year

26   referenced by this Request, or some other amount or information), further rendering this Request

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     unclear, overbroad, not relevant to any party’s claim or defense in this matter, and not

 1   proportional to the needs of the case. Defendants also object to this Request on the grounds that

 2   it seeks information that is overbroad, not relevant to any party’s claim or defense in this matter,

 3   and not proportional to the needs of the case, to the extent it seeks the requested information after

 4   the WAP was frozen to all new contributions as of January 1, 2012, as plaintiffs do not assert any

 5   claims with respect to their participation in the WAP after January 1, 2012. As such, searching

 6   for and identifying all “documents sufficient to show” the information sought by this Request is

 7   neither proportional to the needs of this case nor has any bearing upon the parties’ claims and

 8   defenses in this lawsuit.

 9          Subject to and without waiving these objections and the General Objections above,

10   Defendants will undertake reasonable efforts to identify and produce documents responsive to

11   this Request, if any exist, reflecting the amount of Voluntary Deferred Compensation made into

12   the WAP in each year from 2005 to 2011 and for which such data or information still exists,

13   from which plaintiffs may calculate the percentage of total WAP contributions.

14   REQUEST FOR PRODUCTION NO. 106:

15          For each year from 2005 to the present, please produce documents sufficient to show the

16   value of all assets in the WAP.

17   RESPONSE TO REQUEST FOR PRODUCTION NO. 106:

18          Defendants object to this Request on the grounds that the phrases “sufficient to show”

19   and “assets in the WAP” are vague, ambiguous, and render this Request unclear, overbroad, not

20   relevant to any party’s claim or defense in this matter, and not proportional to the needs of the

21   case. Defendants further object to this Request on the grounds that there are no “assets in the

22   WAP,” insofar as the WAP is an unfunded plan in which participants have only notional

23   accounts, and the Request is unclear as to what “assets in the WAP” it refers (for example, the

24   total of all outstanding WAP liabilities at a given point in time, the “WAP assets” RBC

25   contributed in each year referenced by this Request, or some other amount or information),

26   further rendering this Request unclear, overbroad, not relevant to any party’s claim or defense in

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     this matter, and not proportional to the needs of the case. Defendants also object to this Request

 1   on the grounds that it seeks information that is overbroad, not relevant to any party’s claim or

 2   defense in this matter, and not proportional to the needs of the case, to the extent it seeks the

 3   requested information after the WAP was frozen to all new contributions as of January 1, 2012,

 4   as plaintiffs do not assert any claims with respect to their participation in the WAP after January

 5   1, 2012.   As such, searching for and identifying all “documents sufficient to show” the

 6   information sought by this Request is neither proportional to the needs of this case nor has any

 7   bearing upon the parties’ claims and defenses in this lawsuit.

 8          Subject to and without waiving these objections and the General Objections above,

 9   Defendants will undertake reasonable efforts to identify and produce documents responsive to

10   this Request, if any exist, reflecting the total amount of WAP contributions in each year from

11   2005 to 2011 and for which such data or information still exists.

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13   Dated: October 13, 2017

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     DEFENDANTS’ CONSOLIDATED RESPONSES AND OBJECTIONS                        MORGAN, LEWIS & BOCKIUS LLP
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                                     RULE 26(g) CERTIFICATION

 1          The undersigned attorney has read the foregoing Consolidated Responses and Objections
 2   to Plaintiffs’ Fourth Requests for Production to Defendants, and certifies that the responses and
 3   objections are in compliance with Federal Rule of Civil Procedures 26(g).
 4

 5   Dated: October 13, 2017                         MORGAN, LEWIS & BOCKIUS LLP

 6

 7                                                   By:    /s/ Matthew A. Russell

 8                                                         Sari M. Alamuddin, (admitted pro hac vice)
                                                           Christopher J. Boran, (admitted pro hac vice)
 9                                                         Matthew A. Russell, (admitted pro hac vice)
10                                                   77 West Wacker Drive, Fifth Floor
                                                     Chicago, IL 60601
11                                                   Phone: 312.324.1000
                                                     Fax: 312.323.1001
12                                                   Email: sari.alamuddin@morganlewis.com
                                                            christopher.boran@morganlewis.com
13                                                          matthew.russell@morganlewis.com
14                                                   Attorneys for Defendants RBC Capital Markets,
                                                     LLC, Royal Bank of Canada, and Royal Bank of
15                                                   Canada US Wealth Accumulation Plan
16

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                                       CERTIFICATE OF SERVICE

 1          I hereby certify that on this date, I served the foregoing document on all parties of record

 2   via e-mail on October 13, 2017.

 3          YARMUTH WILSDON PLLC

 4          Jeremy E. Roller, WSBA No. 32021
            Elizabeth S. Weinstein, WSBA No. 45763
 5
            1420 Fifth Avenue, Suite 1400
 6          Seattle, WA 98101
            Phone: 206.516.3800
 7          Fax:      206.516.3888
            Email: jroller@yarmuth.com
 8                    eweinstein@yarmuth.com
 9          Attorneys for Plaintiffs Marty Paul and Brian Buskirk
10

11                                                /s/ Matthew A. Russell
12
                                                  Matthew A. Russell
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                                No. 13-20213


           United States Court of Appeals
                                   for the
                           Fifth Circuit
             BRENDA TOLBERT, JOSEPH R. NEUHAUS, JR.,
                     and LAWRENCE GIFT, JR.,

                       PLAINTIFFS-APPELLANTS,
                                      v.

 RBC CAPITAL MARKETS CORPORATION, now known as RBC Capital
Markets, L.L.C., RBC CENTURA BANK, now known as RBC Bank (USA), and
                   RBC INSURANCE SERVICES, INC.,
                       DEFENDANTS-APPELLEES.

            On Appeal from the United States District Court for the
 Southern District of Texas, Houston Division, No. 4:11-cv-107, The Honorable
                            Keith P. Ellison Presiding


              BRIEF OF DEFENDANTS-APPELLEES


  Allyson N. Ho                              Sari M. Alamuddin
  MORGAN, LEWIS & BOCKIUS LLP                Christopher J. Boran
  1717 Main Street, Suite 3200               Matthew A. Russell
  Dallas, Texas 75201-7347                   MORGAN, LEWIS & BOCKIUS LLP
  214.466.4000                               77 West Wacker Drive, Fifth Floor
                                             Chicago, Illinois 60601
                                             312.324.1146

                     Attorneys for Defendants-Appellees



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                CERTIFICATE OF INTERESTED PERSONS
      The undersigned counsel of record certifies that the following persons and

entities as described in Rule 28.2.1 have an interest in the outcome of this case.

These representations are made so that the Judges of this Court may evaluate

possible disqualifications or recusals.

 Persons or Entities                            Counsel and Law Firms

 Brenda Tolbert                                 Geoffrey H. Bracken
 Joseph R. Neuhaus, Jr.                         Joe B. Harrison
 Lawrence Gift, Jr.                             William G. Whitehill
                                                Stacy R. Obenhaus
 Royal Bank of Canada                           Gardere Wynne Sewell LLP
 RBC Capital Markets LLC
 RBC Capital Markets U.S. Bank                  Sari M. Alamuddin
 Network                                        Allyson N. Ho
 RBC U.S. Insurance Services Inc.               Christopher J. Boran
 RBC Insurance Holdings Inc.                    Matthew A. Russell
 RBC USA Holdco Corporation                     Morgan Lewis & Bockius LLP
 The Royal Bank of Canada U.S.
  Wealth Accumulation Plan




                                          /s/ Christopher J. Boran




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             STATEMENT REGARDING ORAL ARGUMENT
      Plaintiffs have requested oral argument. If the Court grants that request,

then defendants respectfully request the opportunity to present argument.




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                           STATEMENT OF ISSUES
      1.      Whether the district court correctly held that an employer’s plan—

called a “wealth accumulation plan” and designed to attract and retain key

employees by awarding annual bonuses and other incentives that, once vested,

were distributed to participants during their employment absent a contrary

written election—is not an “employee pension benefit plan” under ERISA, 29

U.S.C. § 1002(2)(A).

      2.      Whether, alternatively, the district court’s dismissal of plaintiffs’

ERISA breach of fiduciary duty claims should be affirmed because the wealth

accumulation plan—even assuming it were an ERISA pension plan—is

“maintained . . . primarily for the purpose of providing deferred compensation

for a select group of management or highly compensated employees,” 29 U.S.C.

§ 1101(a)(1), and is thus a “top-hat” plan exempt from ERISA’s fiduciary duty

provisions.

                         STATEMENT OF THE CASE
      Plaintiffs Brenda Tolbert, Joseph Neuhaus, and Lawrence Gift assert

claims for breach of fiduciary duty under ERISA § 502(a)(2)-(3), 29 U.S.C.

§ 1132(a)(2)-(3), against their former employer, RBC Capital Markets, and

other sponsors of Royal Bank of Canada’s wealth accumulation plan (“WAP”)

seeking to recover bonuses and other awards they forfeited under the terms of


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the WAP when their employment at RBC ended in 2009 (Tolbert) and 2011

(Neuhaus and Gift). R.1641; R.1642 n.3.

      Plaintiffs’ claims are predicated on their contention that the WAP is

subject to ERISA and not a valid “top-hat” plan under that statute. R.227-56;

R.1642.   A “top hat” plan is an “unfunded” ERISA plan “maintained . . .

primarily for the purpose of providing deferred compensation to a select group

of management or highly compensated employees.” 29 U.S.C. § 1101(a)(1).

Top-hat plans “are exempt from ERISA’s fiduciary provisions as well as its

participation, vesting, and funding provisions.” Reliable Home Health Care,

Inc. v. Union Cent. Ins. Co., 295 F.3d 505, 512 (5th Cir. 2002).

      The parties filed cross motions for summary judgment. RBC moved on

the grounds that plaintiffs could not establish that the WAP is an ERISA

pension plan and, even if it were, it is an exempt top-hat plan.      Doc. 91.

Plaintiffs moved for summary judgment on the top-hat issue only. Doc. 84.

      The district court granted RBC’s summary judgment motion and denied

plaintiffs’ partial summary judgment motion. R.1633; R.1670. The court held

that as a matter of law, the WAP is not an “employee pension benefit plan”

within the meaning of ERISA, 29 U.S.C. § 1002(2)(A). R.1670. The court thus

did not address the parties’ top-hat plan arguments.      R.1642.   This appeal

followed. R.1671.


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                          STATEMENT OF FACTS

I.     RBC Designs The WAP To Attract And Retain Key Employees By
       Awarding Annual Bonuses And Other Incentives.
       Defendants RBC Capital Markets Corporation, RBC Centura Bank, and

RBC Insurance Services Inc. (collectively “RBC”) are two subsidiaries and one

former subsidiary of the Royal Bank of Canada (“Royal Bank”).            R.227;

R.1278. RBC is a leader in the financial services industry, providing investment

banking, financial planning, and other financial services to both individual and

institutional clients.

       A.    The WAP Is Based On A Combination Of Bonuses And Vesting
             Requirements.
       Financial consultants are, as plaintiffs put it, the “lifeblood” of RBC’s

business. Appellants’ Br. (“Br.”) at 7. They are responsible for obtaining and

nurturing clients, providing those clients with sound investment advice, and in

turn generating billions of dollars in annual revenue for RBC. Doc. 91, Ex. 11

at 12:22-14:5, 15:25-20:21.

       RBC faces enormous competition in recruiting and retaining financial

consultants. Id., Ex. 11 at 20:14-21:1; id. Ex. 2 at 25:10-22, 27:14-37:23. Not

only are these employees hard to come by and difficult to retain, but when they




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leave a firm they take their clients with them. Id., Ex. 11 at 21:2-24:4; id. Ex.

12; Doc. 111, Ex. 1 at 38:20-39:16, 40:14-25; id., Ex. 2 at 26:2-20, 76:13-77:1.1

      Given their importance, RBC designed and maintained the WAP in large

part to “attract and retain financial consultants.” Doc. 91, Ex. 1 at 40:6-15. To

that end, the WAP is one of two “key components” of a financial consultant’s

compensation. Id., Ex. 2 at 18:10-16. The first component—available to all

financial consultants—was a monthly commission-based payment, determined

by applying a fixed percentage to the financial consultant’s gross production

throughout the year. Id. at 13:15-17:17; Doc. 92, Ex. 14 at 2.

      The second component included bonuses and other incentives awarded

through the WAP. These “Company Contributions” were awarded only to those

who satisfied the WAP’s eligibility requirements, infra at 8, and included:

       Productivity Bonuses awarded at the end of the fiscal year in an
        amount equal to 1.75% to 5% of the financial consultant’s gross
        production for the year, see, e.g., Doc. 91, Exs. 4, 5;

       Loyalty Bonuses based on the financial consultant’s annual
        production and length of service at RBC, see, e.g., id., Exs. 6, 7;
        and




1
   For example, plaintiffs Gift and Neuhaus left RBC for Morgan Stanley, and
when they left, their clients followed. See infra at 11-12. Tolbert, who was
terminated for cause, was able to secure immediate employment—and a $200,000
signing bonus—at Morgan Stanley. See infra at 10-11.


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       Matching Contributions awarded as a percentage of a financial
        consultant’s Voluntary Deferred Compensation that increased
        based on production and tenure, see, e.g., id., Exs. 4, 5.

      To further RBC’s goal of attracting and retaining successful financial

consultants, bonuses and matching contributions were not immediately available

to the financial consultants. Instead, they became payable after a five-year

vesting period. Doc. 91, Exs. 3-5. If a participant’s employment at RBC ended

in the interim, Bonuses and Matching Contributions were forfeited. R. 43 § 4.6;

see also R.1641.2

      By awarding annual bonuses and matching contributions subject to

vesting, the WAP not only incentivized increased production, but also helped

retain valuable employees and served as an important recruiting tool. Id., Ex. 1

at 40:12-42:10; Ex. 2 at 98:9-19.          Indeed, RBC’s plan competes with

comparable plans used throughout the industry to compensate financial

consultants. See id., Ex. 2 at 25:13-22; 27:14-37:23; id., Ex. 23 at 2. The WAP

thus helps RBC “recruit [financial consultants] away from competitors [and] to

keep the competitors from recruiting [financial consultants] away from [RBC.]”

Doc. 91, Ex. 1 at 42:6-10.

2
   Exceptions were made for participants whose employment ended because of
death or disability; participants who left RBC under an approved “business
transition agreement;” and participants whose age plus years-of-service totaled
at least 60 (R.37) and who signed a non-competition and non-solicitation
agreement. R.42 § 4.2(a)-(b); R.37.

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      The WAP also helps recruit and retain other employees, such as those

who manage financial consultants.     Doc. 91, Exs. 6-8.     These management

employees—who maintain their own books of business—are also eligible for

bonuses and matching contributions. Id.; R.243. Divisional presidents and vice

presidents and other highly compensated employees also qualified for the WAP,

and were awarded Matching Contributions. Doc. 91, Ex. 9.3

      B.    By Its Express Terms, The WAP Does Not Purport To Be An
            ERISA Pension Plan.
      Section 5.11 of the WAP expressly states that it is “not intended” to be an

ERISA pension plan. R.48; R.1661-62. Section 5.11 further clarifies that, in

the event the Plan is nevertheless “determined to be” an ERISA plan, “the

Company believes that it constitutes” a top-hat plan, “exempt from many

ERISA requirements.” R.48; R.1661, 1669-70.

      Moreover, Section 1.1 of WAP states:



3
   In addition to serving as a bonus vehicle, the WAP allows qualifying
participants to defer portions of their annual compensation into the plan. R.38
§ 2.2. These voluntary deferrals were always 100 percent vested and could not
be forfeited. R.42 § 4.1. They are not at issue in this case.

   The WAP also contains provisions related to “Mandatory Deferred
Compensation.” R.39 § 2.3. These deferrals applied only to complex directors
and branch directors, Doc. 91, Ex. 8, and were eliminated at the end of 2010,
see id., Ex. 6. Because none of the plaintiffs was subject to mandatory
deferrals, they too are not at issue.


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      [The WAP] is a nonqualified, deferred compensation plan pursuant to
      which a select group of management or highly compensated
      employees . . . may be offered the opportunity to elect to defer receipt
      of a portion of their compensation to be earned with respect to an
      upcoming Plan year. The Plan is designed to provide an opportunity
      for such employees to invest a portion of their compensation in tax-
      deferred savings and investment options in an effort to support long-
      term savings and allow such employees to share in the Company’s
      growth and profitability, if any.

R.34. The WAP was thus designed to serve a different function than the RBC

401(k) plan, which unlike the WAP was offered to all employees as a means to

save for retirement. Doc. 91, Ex. 1 at 141:15-25.

      C.    The WAP Requires Distribution Of Benefits Upon Vesting For
            Certain Participants And All Others Who Do Not Timely Elect
            Otherwise In Writing.
      The WAP requires that company contributions to certain participants be

paid upon vesting. Doc. 91, Ex. 3 ¶5; id., Ex. 1 at 298:3-14. This group

included financial consultants or branch directors with gross production in the

preceding fiscal year of $300,000 to $350,000.         Id., Ex. 3 ¶5.     All other

participants could choose to receive distributions of their benefits for that year

“in-service”—that is, upon vesting and while still employed at RBC—or elect in

writing to delay distribution until they left RBC. Id. ¶4; R.44-45 § 5.3(a)-(b).

The WAP otherwise required in-service distributions if a participant did not

make a timely election. Doc. 91, Ex. 3 ¶4; R.45 § 5.2(b)(iv).




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        Plaintiffs Gift and Neuhaus received in-service distributions of their

vested WAP benefits and used that money to finance their children’s college

education. Doc. 111, Ex. A at 82:11-83:2; id., Ex. B at 62:1-63:12. Plaintiffs

were not alone: Between 51 percent and 66 percent of participants received “in-

service” distributions of their benefits between 2007 and 2011. Doc. 91, Ex. 3

¶6.

II.     Eligibility Requirements Ensure That Only A Highly Compensated
        Fraction Of The Workforce Qualifies For The WAP.
        The WAP imposes two eligibility requirements. First, the employee must

neither reside nor perform the majority of her services in Canada.        R.38

§ 2.1(b).    Second, the employee must satisfy minimum “compensation or

production” thresholds set by a designated WAP committee. Id. § 2.1(a). These

requirements must be satisfied by every participant in each plan year. Doc. 91,

Ex. 3 ¶¶7-8.4

        As of January 2008, the WAP’s annual production threshold for financial

consultants and other commission-based employees was $300,000. Doc. 91,

Exs. 4-5; see also Doc. 75 ¶6. Meanwhile, the compensation threshold for non-

production, or salaried, employees was $150,000. Id.


4
   Eligibility determinations were made in two stages—before the plan year and
during it. Doc. 91, Ex. 3 ¶7.



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        In October 2008, the WAP committee amended these thresholds. Doc.

91, Ex. 10; see also Doc. 75 ¶¶7-8. As a result, the production threshold for

2010 increased to $400,000, and the compensation threshold for 2009 increased

to $350,000. Compare id. ¶¶7(e) & 8(a)-(c), with id. ¶6. Because Tolbert

earned less than $350,000 in 2008, she did not qualify for the WAP in 2009.

Doc. 91, Ex. 17 at 116:7-13.

        Due to the WAP’s eligibility requirements, only a fraction of employees

qualified for participation. Of the combined RBC-Royal Bank workforce, the

percentage who qualified between 2004 and 2010 ranged from 1.97 percent to

3.31 percent annually, with an overall eligibility rate of 2.84%. Doc. 91, Ex. 18

¶46.5

        Indeed, eligible employees earned significantly more than their co-

workers. The average compensation of all eligible employees between 2002 and

2010 ranged from $275,000 to $539,797. Doc. 91, Ex. 19 ¶34. A comparison

of these figures to the average compensation of all non-eligible employees

revealed:

5
    Plaintiffs argued below that Royal Bank’s workforce should be excluded from
analysis because it contained Canadian employees who did not satisfy the WAP’s
first eligibility requirement. Doc. 93 at 37-41. Considering the RBC workforce
only, the eligibility rate still ranged from only 6.99 percent to 17.11 percent
annually, with an overall rate of 13.39 percent. Doc. 91, Ex. 18 ¶46 & Niden Rpt.
Ex. 7.


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          Eligible employees earned 4.7 to 6.5 times more than non-
           eligible RBC and Royal Bank employees. Doc. 91, Ex. 18 ¶58.

          Eligible employees earned 3.7 to 6.4 times more than non-
           eligible RBC employees. Id., Ex. 19 ¶40.6

III.     Plaintiffs Leave RBC, Go To Work For A Competitor, And Then Sue
         RBC To Recover Bonuses And Other Awards Forfeited Under The
         Express Terms Of The WAP.
         Plaintiff Tolbert worked at RBC until August 2009, when she was

terminated for cause. R.232 ¶27; R.253 n.39. At the time, Tolbert’s title was

Vice President, Senior Investment Associate.        Doc. 91, Ex. 17 at 86:7-10.

Tolbert earned over $150,000 annually and qualified for the WAP between 2003

and 2008, but not in 2009 after the eligibility thresholds changed. Doc. 91, Ex.

17 at 112:21-113:7, 116:3-24.

         Tolbert’s pay depended largely on the salary and bonuses she negotiated

with RBC financial consultant Lewis Brazelton, with whom she formed an

“inseparable team,” R.253 n.39. A licensed securities broker for over 30 years,

Doc. 91, Ex. 17 at 27:7-19, Tolbert provided regular investment advice to the

more than 575 clients comprising Brazelton’s book of business, id. at 62:8-

64:13, 67:2-19, 73:2-13; see also id., Ex. 11 at 21:2-23:8 & Ex. 12 (client list).

         Within weeks of leaving RBC in August 2009, Brazelton and Tolbert

teamed up once again—this time with RBC competitor Morgan Stanley. Id. at
6
   Use of median compensation data increased these disparities. Doc. 91, Ex. 19,
¶¶30-32, 34-35, 39-40; id., Ex. 18 ¶¶21-23, 49-54, 57-58.

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31:13-33:17. As is common in the industry, Brazelton was not only able to

bring to Morgan Stanley almost all of the clients he and Tolbert serviced at

RBC, Doc. 91, Ex. 11 at 22:2-24:4, but both Brazelton and Tolbert also received

generous signing bonuses, see id., Ex. 17 at 42:8-16 (Tolbert’s bonus was

$200,000); id., Ex. 11 at 60:13-61:20 & Ex. 13 (Brazelton’s was between 50

percent and 200 percent of his last twelve months of production at RBC, which

was $1.8 million).

      Plaintiff Neuhaus was a financial consultant for over 20 years when RBC

recruited him in 1994.     Doc. 111, Ex. A at 36:24-38:6.       Neuhaus brought

roughly 90 percent of his clients to RBC and personally negotiated his

compensation package, including a $210,000 signing bonus. Id. at 39:7-16,

45:11-21, 48:13-15. Neuhaus participated in the WAP between 2003 and 2011.

      After entertaining offers from multiple firms, Neuhaus left RBC for

Morgan Stanley in 2011. Id. at 7:7-10, 70:3-10. Neuhaus again personally

negotiated his compensation, including a signing bonus.         Id. at 113:12-18.

When Neuhaus left RBC, he took with him “well over 50 [percent]” of the

clients comprising his $300 million book of business, id. at 40:23-25, 66:3-15,

as well as other RBC employees who were part of his team, id. at 55:4-56:13.

      Plaintiff Gift worked as a financial consultant at six different firms before

joining RBC in 2004. Doc. 111, Ex. B at 8:7-8, 10:14-22, 13:2-15:24, 19:16-21,


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74:2-12. Gift participated in the WAP between 2004 and 2011. Id. at 32:12-

33:16.    In 2011, Gift also left RBC for Morgan Stanley, where he joined

Tolbert, Brazelton, and Neuhaus. Id. at 6:12-16. Like the others, Gift took

most of his clients with him, id. at 26:2-20, 76:13-77:1, and secured a

substantial signing bonus, see id. at 24:5-14, 57:15-25 (typical bonus is between

70 percent and 100 percent of trailing twelve months of production, which was

roughly $700,000 when he left RBC).

        After joining Morgan Stanley, the plaintiffs sued RBC to recover Bonuses

and Matching Contributions they forfeited, in accordance with the terms of the

WAP, upon their departure from RBC. R.227-57.

IV.     The District Court Grants Summary Judgment To RBC Because The
        WAP Is Not An ERISA Pension Plan.
        The district court held, as a matter of law, that the WAP is not an

employee pension benefit plan under ERISA. R.1670. Because this holding

disposed of plaintiffs’ claims, the court did not address the additional grounds

for summary judgment advanced by RBC, including that the WAP is a top-hat

plan exempt from ERISA’s fiduciary duty provisions. R.1642.

        The district court explained that deciding whether the WAP is an

“employee pension benefit plan” required the court to “determine if the WAP,

by its express terms or as a result of surrounding circumstances, provided

retirement income to participants or resulted in the deferral of income for

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periods extending to, or after, termination of employment.” R.1645 (emphases

added).   The court also noted that both parties agreed “that the Court can

determine the WAP’s ERISA status as a matter of law under the facts of this

case.” R.1644.

      To that end, the court engaged in an “in-depth review of the WAP”

(R.1645) as a prelude to its “express terms” and “surrounding circumstances”

analyses, bearing in mind that “the proponents of an ERISA plan must prove

that the plan was ‘designed for the purpose of paying retirement income whether

as a result of [its] express terms or surrounding circumstances.’”       R.1651

(quoting Murphy v. Inexco Oil Co., 611 F.2d 570, 575 (5th Cir. 1980)).

      Applying these principles, the court explained that nothing in the express

terms of the WAP demonstrated that it was designed for the purpose of

providing retirement or post-termination income.

      First, the court noted that “[n]either retirement nor termination/post-

termination income was an expressly stated purpose or goal of the plan.”

R.1652.

      Second, the court explained that “[c]lose inspection of the WAP

provisions themselves reveals no express terms for providing retirement or

termination/post-termination income to employees.”        R.1652-54.     To the

contrary, “[i]f an eligible participant’s account balance was received on a


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termination/post-termination basis, it was an anticipated consequence of the

participant’s written election and not due to the goal, design, or express terms of

the plan.” R.1655.

      Third, relying Department of Labor guidance, the district court explained

that the WAP in no way “condition[ed] the receipt of vested benefits on a

participant’s retirement or termination.” R.1655-56. “[S]ome participants were

required to receive WAP benefits while they were still employed by the

company; others automatically received WAP benefits while still employed

unless they expressly and timely elected otherwise.” R.1656.

      The district court next considered whether the WAP is a pension plan

based on “surrounding circumstances.” The court first explained that the mere

option for some participants to defer WAP distributions to termination was not

the type of “surrounding circumstance” that triggers ERISA coverage. R.1659-

60. Although this option meant that “under certain conditions,” WAP

distributions could be made upon termination or retirement, such “result was the

consequence of a participant’s own written election, not the operation or

administration of the WAP.” R.1660.

      The court also found unpersuasive plaintiffs’ contention that various RBC

communications referencing the WAP’s “top hat” status and “retirement”

generally established “the requisite surrounding circumstances.” R.1660, 1664.


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The court explained that the “top hat” references were entirely “consistent with

the WAP’s own language and DOL registration letter, which essentially stated

that [the] WAP was not intended to be an employee pension benefit plan under

ERISA but, should it be held as such, that it was intended to qualify as a top hat

plan.” R.1660-61.

      The retirement references also were insignificant because they did not

“encourage, much less require, participants to defer receipt of their WAP

benefits until retirement or termination, or discourage participants from taking

their benefits on an in-service basis.” R.1666.

      Finally, the district court rejected plaintiffs’ miscellaneous “surrounding

circumstances” arguments. For example, the court rejected plaintiffs’ attempt to

show statistically that “certain percentages [of WAP participants] elected

annually to defer distributions until termination of employment,” R.1666, noting

that the majority of WAP participants—including Gift and Neuhaus—did not

elect to delay distributions until termination, R.1667.     Moreover, the court

emphasized that the “design of the plan at issue, not the individual participants’

intended use of the proceeds,” is the perspective from which ERISA coverage

must be determined. R.1667 (quoting Houston v. Aramark Corp., 112 F. App’x

132, 136 (3d Cir. 2004) (emphasis added below)).




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                         SUMMARY OF ARGUMENT

      I.     In enacting ERISA, Congress “did not . . . attempt to control every

aspect of the employer-employee relationship or every promise made to

employees.” Murphy, 611 F.2d at 574. For ERISA to apply here, plaintiffs

were required to prove that the WAP constitutes an “employee pension benefit

plan.” 29 U.S.C. § 1002(2)(a). That, in turn, required plaintiffs to prove that

the WAP by its “express terms” or “surrounding circumstances” provides

“retirement income to employees” or “results in a deferral of income by

employees for periods extending to the termination of covered employment or

beyond[.]” 29 U.S.C. § 1002(2)(A). Plaintiffs cannot carry that burden as a

matter of law, as the district court correctly held.

      Apparently unable to challenge that holding directly, plaintiffs resort to

mischaracterizing it.    Their brief repeatedly claims (e.g., at 16-17) without

citation that the district court improperly “add[ed] a mandatory condition on

pension plan elections that does not exist in ERISA or its legislative history—

namely, an ERISA ‘pension plan’ may not give participants an option to receive

his or her benefits other than at retirement or separation from service.” The

district court did no such thing—it simply (and correctly) held that, considering

the WAP’s express terms and surrounding circumstances, the mere “existence of

[an] option” for some WAP participants to delay distributions of benefits until


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“termination” did not automatically trigger ERISA coverage. R.1655, 1660.

Nothing in the district court’s opinion even remotely suggests, as plaintiffs’

contend (at 11), that a plan’s “sole distribution option must be at retirement or

separation” to fall within ERISA’s coverage.

      The district court’s actual holding is entirely consistent with Fifth Circuit

precedent. This Court has made clear that the “employee pension benefit plan”

definition is “not algorithmic” and is “not to be read as an elastic girdle that can

be stretched to cover any content that can conceivably fit within its reach.”

Murphy, 611 F.2d at 575. Accordingly, plans that are not “designed for the

purpose of paying retirement” or post-termination income, id., but to reward and

retain employees through bonuses and other incentives are generally not

governed by ERISA, see, e.g., Emmenegger v. Bull Moose Tube Co., 197 F.3d

929, 933 (8th Cir. 1999). The district court correctly applied these principles

and its holding that the WAP is not an employee pension benefit plan should be

affirmed.

      To begin, nothing in the WAP’s express terms evinces a “primary purpose

of paying retirement” or post-termination income. Murphy, 611 F.2d at 575

(emphasis added).     As plaintiffs themselves highlighted below, the WAP

“indisputably” was “created and maintained . . . primarily as a tool to recruit,

develop, and retain” financial consultants and was “rolled out . . . purely for


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compensation reasons, as it was common in the financial industry to have plans

such as this one.” Doc. 84 at 6 (emphasis added). Thus, even plaintiffs agree

that the WAP’s “primary thrust” was not to provide retirement income.

Murphy, 611 F.2d at 574.         And because the WAP did not “condition

distribution” of benefits “upon termination of employment or retirement,” it was

“not by its express terms an employee pension benefit plan” under ERISA.

DOL Op. Ltr. 82-29A, 1982 WL 21212, at *2.

      Nor was the WAP a pension plan based on surrounding circumstances.

Nothing about the operation or administration of the WAP had the effect of

delaying distributions of benefits until retirement or termination. And it is

undisputed that the majority of WAP participants received distributions of their

benefits while still employed at RBC. Indeed, two of the three plaintiffs here

received “in-service” distributions of their WAP benefits.

      Plaintiffs try to turn these undisputed facts to their advantage by arguing

that some participants could use WAP benefits for retirement. But courts have

consistently held that the mere option to defer benefits until retirement is

insufficient to trigger ERISA coverage. See, e.g., Emmenegger, 197 F.3d at

933-34; McKinsey v. Sentry Ins., 986 F.2d 401, 406 (10th Cir. 1993). And it

also is well-established that “the design of the plan at issue, not the individual

participants’ intended use of the proceeds, must be the perspective from which


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the definition of ‘employee pension benefit plan’ is determined.” Houston, 112

F. App’x at 136 (emphasis added) (citing Murphy).

      Contrary to plaintiffs’ hyperbolic claims, the district court’s holding in no

way undercuts the policies that animate ERISA. The WAP indisputably was

designed to recruit and retain key employees—not to provide retirement

benefits. ERISA simply does not apply, as the district court correctly held.

      II.   Alternatively, even if the WAP were an ERISA plan, the district

court’s decision still should be affirmed because ERISA’s top-hat provisions

exempt the WAP from plaintiffs’ fiduciary duty claims. These exemptions

preclude liability for alleged fiduciary breaches where a plan is “unfunded” and

maintained “primarily” for “a select group of management or highly

compensated employees.” 29 U.S.C. § 1101(a)(1). Because the parties agree

that the WAP is unfunded, the only question remaining is whether it was

maintained for a select group of highly compensated employees. And it was.

      First, during plaintiffs’ employment, the WAP was maintained for a

“select group” because just 2.85 percent of the RBC-Royal Bank workforce

qualified to participate. Second, WAP-eligible employees were “highly

compensated”—indeed, they earned up to six-and-a-half times more than non-

eligible employees.    Third, both the WAP’s language and purpose support




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application of the top-hat exemptions. The district court’s decision should be

affirmed for these reasons as well.




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                                  ARGUMENT

I.     The District Court Correctly Held That The WAP Is Not An
       Employee Pension Benefit Plan Under ERISA.
       Relying on this Court’s precedent requiring a careful analysis of the

WAP’s terms and surrounding circumstances, the district court correctly held

that the WAP is not an “employee pension benefit plan” under ERISA. 29

U.S.C. § 1002(2)(A). Central to the district court’s holding was its recognition

that to the extent WAP benefits are distributed upon termination, such

distributions are “a consequence of a participant’s own written election” and not

the WAP’s express terms, operation, or administration. R.1655.

       Apparently unable to challenge the district court’s reasoning on its own

terms, plaintiffs resort to mischaracterizing its holding. Plaintiffs repeatedly

claim (without citation) that the district court “add[ed] from the bench” a

“condition” that “providing deferred benefits at retirement or separation must be

the plan’s sole and exclusive distribution option” before ERISA will apply. Br.

18 (emphasis added); see also id. at 11, 17, 26, 34, 49-50. But the district court

did nothing of the kind.

       The district court held only that—considering the WAP’s terms and

surrounding circumstances—the mere “existence of the option” for some

participants to elect to delay distributions until retirement or termination did not

trigger ERISA coverage. R.1655-66; R.1660. The district court did not even

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suggest—much less hold—that plan benefits must be distributed “exclusive[ly]”

upon retirement or separation before a plan will fall within ERISA’s ambit.

Indeed, plaintiffs do not even attempt to identify where in the district court’s

opinion such a holding can be divined.

      As demonstrated below, the district court’s actual holding is fully

consistent with this Court’s precedents—which plaintiffs ignore until 16 pages

into their argument section—and those of other Circuits, and is faithful to the

policies underlying ERISA. It should be affirmed.

      A.    ERISA Applies Only To Plans “Designed For The Purpose Of
            Paying Retirement Income, Whether As A Result Of Their
            Express Terms Or Surrounding Circumstances.”
      In enacting ERISA, “Congress did not . . . attempt to control every aspect

of the employer-employee relationship or every promise made to employees.”

Murphy, 611 F.2d at 574. Rather, it “sought only to deal with those types of

plans that had created the problems it sought to remedy.” Id. These problems

included pension plans under which “many employees with long years of

employment were losing anticipated retirement benefits owing to [a] lack of

vesting” and funding. Id. (emphasis added); see also Nachman Corp. v. Pension

Benefit Guar. Corp., 446 U.S. 359, 375 (1980) (Congress wanted to ensure “that

if a worker has been promised a defined pension benefit upon retirement . . . he

actually will receive it”). ERISA thus applies only to “an employee welfare


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benefit plan or an employee pension benefit plan or a plan which is both.”

Murphy, 611 F.2d at 574 (quotations omitted).

      Plaintiffs claim that the WAP is an “employee pension benefit plan,”

which is a plan that “by its express terms or as a result of surrounding

circumstances . . . provides retirement income to employees, or . . . results in a

deferral of income by employees for periods extending to the termination of

covered employment or beyond[.]” 29 U.S.C. § 1002(2)(A) (emphases added).

Thus, to establish ERISA coverage, plaintiffs must prove that (1) the WAP by

its “express terms” provided retirement or deferred post-termination income, or

(2) did so “as a result of surrounding circumstances.” Id.; see also Murphy, 611

F.2d at 574 (party asserting ERISA coverage bears the burden of proof). As a

matter of law, plaintiffs cannot make either showing.

      As this Court has repeatedly held, the employee pension benefit plan

“definition is not algorithmic” and must not be “read as an elastic girdle that can

be stretched to cover any content that can conceivably fit within its reach.”

Murphy, 611 F.2d at 575; Boos v. AT&T, Inc., 643 F.3d 127, 134 (5th Cir.

2011). “The words ‘provides retirement income’ patently refer only to plans

designed for the purpose of paying retirement income whether as a result of

their express terms or surrounding circumstances.” Id. (quoting Murphy, 611

F.2d at 575 (emphasis in original)).


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      When plaintiffs finally get around to confronting this Court’s decisions in

Murphy and Boos, they argue (at 29-33) that the Court’s reasoning must be

narrowly confined to plans that do not involve any deferral of income. This is

mistaken. In both cases, the Court confronted plans that, in some instances,

“provide[d] retirement income” to participants, yet this Court still held that

ERISA did not apply. In reaching these holdings, the Court made clear that the

critical inquiry is whether the “primary purpose” or “primary thrust” of a plan is

to pay retirement income—recognizing that ERISA was not intended to address

“incidental” payment of retirement benefits. Murphy, 611 F.2d 574-75; Boos,

643 F.3d at 133-34. There is no logical reason for limiting Murphy and Boos to

plans that involve no deferral of income—indeed, doing so would run afoul of

this Court’s instructions that the pension plan definition not be treated like an

“elastic girdle.” The principle established in Murphy therefore applies to any

application of the employee pension benefit plan definition. See, e.g., McKinsey,

986 F.2d at 405-06 (applying Murphy to a “deferred compensation” plan);

Houston, 112 F. App’x at 136 (“The design of the plan at issue . . . must be the

perspective from which the definition of ‘employee benefit pension plan’ is

determined.”).7


7
   Plaintiffs’ contention (at 19-20 & n.3) that the statutory definition should turn
on the Dictionary.com definition of “provide” is directly at odds with this Court’s

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      B.    The WAP Was Not Designed For The Primary Purpose Of
            Paying Retirement Income, But Instead To Recruit And Retain
            Key Employees By Providing Bonuses And Other Incentives.
      Consistent with Murphy and Boos, other courts of appeals have uniformly

held that plans designed primarily to reward or retain employees—as opposed to

providing retirement or post-termination income—are not governed by ERISA.

See, e.g., Oatway v. Am. Int’l Group, Inc., 325 F.3d 184, 189 (3d Cir. 2003)

(ERISA inapplicable where plan “was not created for the purpose of providing

retirement income, but rather was . . . designed to provide a financial incentive

for employees to remain with AIG and improve their performance”);

Emmenegger, 197 F.3d at 932 (same where plan’s “objectives” were to

“encourag[e] selected managers to stay with” the company and “compensat[e]

[them] for services rendered”); McKinsey, 986 F.3d at 406 (same where plan

was designed to reward employees’ “loyalty” and to “provid[e] a method for

sharing in the growth of the Company”). The WAP is just such a plan.

      It is undisputed that the primary purpose of the WAP is not to provide

retirement or deferred post-termination income, but rather, to attract and retain



consistent interpretation of the employee pension benefit plan definition. In any
event, plaintiffs’ own argument is undermined by alternative definitions of the
word “provide” in the very source they cite. See www.freedictionary.com/provide
(“[t]o set down as a stipulation” and “[t]o make a stipulation or condition”); see
also www.merriam-webster/dictionary.com/dictionary/provide (“to make a proviso
or stipulation” and “to have as a condition”).

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key employees by awarding bonuses and other compensation-based incentives.

Plaintiffs emphasized below that “RBC’s documents and testimony indisputably

establish that it created and maintained the WAP primarily as a tool to recruit,

develop, and retain” financial consultants. Doc. 84 at 6 (emphasis added).

Plaintiffs also agreed that “RBC rolled out the WAP purely for compensation

reasons, as it was common in the financial industry to have plans such as this

one.” Id. (emphases added).

      Accordingly, because there is no genuine dispute that the WAP was not

designed for the purpose of paying retirement or post-termination income, the

only question is whether its “express terms” or “surrounding circumstances”

suggest otherwise. As demonstrated next, the answer is no.

            1.    The WAP’s Express Terms Do Not Trigger ERISA
                  Coverage.
      The WAP’s express statements concerning its design are fully consistent

with its non-retirement purpose. First, WAP Section 1.1 states that the Plan will

“provide an opportunity for [qualifying] employees to invest a portion of their

compensation in tax-deferred savings and investment options in an effort to

support long-term savings and to allow such employees to share in the

Company’s growth and profitability[.]” R.34. As the district court correctly

recognized, “[n]either retirement nor . . . post-termination income was an

expressly stated purpose or goal” of the Plan. R.1652.

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      This conclusion is buttressed by WAP Section 5.11, which clarifies that

the WAP was “not intended” to be an ERISA pension plan, but if it nevertheless

was determined to be one, then RBC “believe[d] that it constitute[d]” an exempt

top-hat plan. R.48. The WAP’s express terms thus make clear that it was

designed to provide deferred compensation—including bonuses—in a manner

not governed by ERISA.

      Plaintiffs argue (at 36) that the WAP’s reference to ERISA’s top-hat

exemptions “shows the intent for it to be a pension plan.” But as the district

court correctly observed (R.1670), that RBC sought to ensure the WAP’s

exempt status in the unintended event it was found to be a pension plan only

reinforces the conclusion that it was not designed for the purpose of paying

retirement or post-termination income.      See Houston v. Saracen Energy

Advisors, LP, 2009 WL 890384, at *7 (S.D. Tex. Mar. 27, 2009) (rejecting

argument that plan’s reference to its top-hat status amounted to “express terms”

establishing a design to provide ERISA-covered pension benefits); see also

Weekley v. Thales Fund Mgmt., LLC, 2012 WL 6808523, at *2-4 (S.D.N.Y.

Dec. 28, 2012) (same).

      Relying on In re Meinen, 228 B.R. 368 (Bankr. W.D. Pa. 1998), plaintiffs

argue also (at 36) that the WAP’s statement that it would “support long-term

savings” shows that it was intended to be a pension plan. The plan in Meinen,


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however, was expressly designed “to encourage and assist [e]mployees in

providing funds for old age security by supplementing monthly pensions[.]” Id.

at 373 (emphases added). That is a far cry from the WAP’s statement that it

would “support long-term savings.” R.34. As in the district court, plaintiffs

“proffer no . . . authority” for the proposition that “‘support[ing] long-term

savings’ is equivalent to ‘providing retirement income to employees.’” R.1652.

      Moreover, the WAP’s statement that it would “support long-term savings”

is entirely consistent with its non-retirement purpose.         For most WAP

participants, including Gift and Neuhaus, “long-term savings” meant only that

their benefits would be distributed after five years of vesting and tax-deferred

growth. These benefits could thus be “saved” to finance a child’s education,

place a down payment on a home, purchase an engagement ring, or for any other

non-retirement purpose as a reward for a job well done.

      Indeed, as the district court correctly recognized, “the WAP did not

require participants to defer compensation until termination [or retirement.]”

R.1655. To the contrary, it required some participants to receive distributions of

their benefits promptly upon vesting, and did so by default for everyone else,

absent a timely, written election to the contrary. Hence, when retirement or

post-termination distributions occurred under the WAP, it was purely a

“consequence of the participant’s written election and not due to the goal,


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design, or express terms of the plan.” R.1655. These undisputed facts compel

the conclusion that the WAP is not a pension plan by its express terms.

      That conclusion accords with this Court’s reasoning in Murphy, which

makes clear that the mere fact that some participants may receive retirement

income through a plan does not trigger ERISA coverage—instead, courts must

consider whether the payment of retirement income was the “primary thrust” of

the plan. 611 F.2d at 574-75. Thus, as the Third Circuit has read Murphy, it is

the “design of the plan at issue” and “not the individual participant’s intended

use of the proceeds” that is the key to the analysis. Houston, 112 F. App’x at

136 (emphases added). Not surprisingly, after Murphy, courts hold that the

mere option to defer receipt of benefits until retirement or termination does not

trigger ERISA coverage. See, e.g., Emmenegger, 197 F.3d at 933 (no ERISA

coverage where post-termination distributions were “strictly at the option” of

plan participants); McKinsey, 986 F.2d at 406 (same).8

      While the WAP does permit some participants to defer distributions until

retirement or termination, such payments were “incidental” to the WAP’s

“primary thrust” of providing current compensation in a manner designed to

attract and retain key employees. Boos, 643 F.3d at 134; see also, e.g., Oatway,

8
   See also Critelli v. Fidelity Nat’l Title Ins. Co. of N.Y., 2007 WL 749693, at *4
(E.D.N.Y. Mar. 7, 2007) (“It is well established in the Second Circuit that a mere
option to defer compensation is insufficient to trigger ERISA coverage”).

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325 F.3d at 189 (any “post-retirement payments were only incidental to the goal

of providing current compensation” in a manner “designed to provide a financial

incentive for employees to remain with AIG”); McKinsey, 986 F.2d at 406

(holding that option to “defer payment of bonus and interest allocations until the

termination of employment” under a “deferred compensation plan” designed to

promote “loyalty to the organization” and “provid[e] a method for sharing in the

growth of the Company” did not trigger ERISA coverage). The overwhelming

weight of authority therefore supports the district court’s finding that the WAP

is not an ERISA plan by its express terms.

      Faced with this authority, plaintiffs assert (at 19) that the WAP merely

gave participants an “early distribution option.” But plaintiffs mischaracterize

the WAP. As explained, the WAP is not a plan that merely permits “early

distribution” of benefits that otherwise would be paid out upon retirement.

Rather, it requires certain participants to receive “in-service” distributions and

does so for everyone else absent a contrary written election. Based on their

false premise, plaintiffs trot out a series of bankruptcy and district court

decisions they claim support the proposition that such “early distribution”

options do not preclude ERISA coverage. Br. 20-23. Predictably, these cases

do not help plaintiffs.




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      Their lead case is In re Silicon Graphics, Inc., 363 B.R. 690 (Bankr.

S.D.N.Y. 2007).     Plaintiffs argue (at 21) that “[t]he only factual difference

between Silicon Graphics and the present case is that the default [distribution]

election in Silicon was retirement and the default in the WAP is in-service,” but

that this difference is “irrelevant” to determining ERISA coverage. Plaintiffs

are wrong on both fronts.

      First, the plan in Silicon Graphics was quite different than the WAP. Not

only did it expressly state that it was a “supplemental retirement plan” and “that

it [was] governed by ERISA,” but it also expressly conditioned distribution of

benefits upon termination of employment, unless another unspecified option

was “agreed upon with an individual employee.” 363 B.R. at 697 (emphasis

added).9 In stark contrast, the WAP does not claim to be a retirement plan. Nor

does it expressly condition distribution of benefits upon termination. Just the

opposite: it mandates “in-service” distributions for some and does so by default

for everyone else. Thus, sound reasoning—not “faulty logic,” Br. 27—led the

district court to conclude that Silicon Graphics is inapposite.

      Second, plaintiffs are wrong in suggesting that there is no relevant

difference between a plan that provides retirement benefits subject only to a


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   Contrary to plaintiffs’ assertion (at 20), the Silicon Graphics plan did not give
participants an “option” to receive distributions “in-service.” 363 B.R. at 697.

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limited “early withdrawal” option and one, like the WAP, that mandates pre-

termination distributions unless a participant affirmatively elects otherwise. In

the former scenario, the plan structure reflects a “primary thrust” to provide

retirement income. This is especially true when the plan is expressly designed

to provide retirement income, as in Silicon Graphics. In the latter scenario, by

contrast, the plan structure strongly suggests that post-termination income is

merely “incidental” to the plan’s “primary thrust”—particularly where, as here,

the plan was designed for a non-retirement purpose. See Boos, 643 F.3d at 134;

Houston, 112 F. App’x at 136.

       The other cases plaintiffs cite are likewise irrelevant.      As already

discussed, the plan in Meinen was expressly designed to provide retirement

benefits. The same is true of the plan in Spitz v. Berlin Industries, Inc., which

was designed to “provide an enhanced source of retirement funds for

participants.” 1994 WL 48593, at *1 (N.D. Ill. Feb. 16, 1994).10 And while

plaintiffs also rely on a decision denying a motion to dismiss in Holansky v.

Prudential Financial, that court expressly made “no findings as to what facts




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   Moreover, the Spitz plan only allowed participants to receive some of their
vested benefits before age 58, and even then they could only obtain incremental
distributions before age 65. See id. at *4.


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may or may not meet [plaintiff’s] burden of proof” for establishing ERISA

coverage. 2004 WL 1404016, at *2 (N.D. Ill. June 21, 2004).11

       Although plaintiffs also discuss several inapposite DOL Opinion Letters,

they fail to mention on-point DOL guidance which plainly supports the district

court’s “express terms” analysis. The DOL has repeatedly advised that when a

plan does not “condition distribution” of benefits “upon termination of

employment or retirement,” then it “is not by its express terms an employee

pension benefit plan” under ERISA. DOL Op. Ltr. 82-29A, 1982 WL 21212, at

*2 (emphasis added); see also DOL Op. Ltr. 2002-13A, 2002 WL 31846478, at

*3 (same); DOL Op. Ltr. 84-12A, 1984 WL 23427, at *2 (same); DOL Op. Ltr.

81-24A, 1981 WL 17745, at *2 (same).           Like the plans in these advisory

opinions, nothing “other than the passage of a fixed period of time” prevented

participants from receiving distributions of their WAP benefits. DOL Op. Ltr.

11
   Plaintiffs elsewhere rely on Leaverton v. RBC Capital Markets Corp., 2011
WL 243764 (W.D. Wash. Aug. 26, 2010), which they claim “ruled that the
WAP is an ERISA ‘pension plan.’” Br. 14. But Leaverton, which decided a
Rule 12(b)(6) motion to dismiss, held no such thing. It held only that, on the
face of the complaint, plaintiff had failed to exhaust administrative prerequisites
for bringing any purported ERISA claim. See R.1509-17. The court engaged in
no analysis as to whether the WAP is an employee pension benefit plan—much
less suggested that the WAP is a pension plan because “it gives employees who
want to save for their retirement or until they separate from service the ability to
do so” as plaintiffs would have it. Br. 15. Presumably, that is why plaintiffs did
not cite the decision in their principal summary judgment briefing below, see
Docs. 84 & 93, and also why the district court correctly “ignored” it, Br. 14.


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84-12A, 1984 WL 23427, at *2. To the extent distributions were made upon

retirement or termination, it was merely the result of a participant’s own

voluntary election—not an express condition of the WAP.12

             2.    The WAP Is Not An Employee Pension Benefit Plan As A
                   Result Of Surrounding Circumstances.
       The surrounding circumstances test asks whether a plan that is not by its

express terms a pension plan has the same effect based on the manner in which

it operates or is administered. For example, the DOL has advised that a plan

“might” be a pension plan as result of surrounding circumstances “if

distributions under the [p]lan are skewed towards the last years of participants’

careers,” DOL Op. Ltr. 81-27A, 1981 WL 17748, at *3, or “if an employer . . .

prevents or discourages participants’ requesting or receiving” pre-termination



12
    Like the bankruptcy and district court decisions they cite, the DOL opinion
letters upon which plaintiffs rely involved plans that were expressly designed to
provide retirement benefits and only allowed participants to obtain limited early
withdrawals, often subject to penalties or other conditions. See DOL Op. Ltr.
83-33A, 1983 WL 22518 (conditioned distribution upon retirement with early
withdrawals only under “certain conditions”); DOL Op. Ltr. 80-31A, 1980 WL
8978 (plan designed to “accumulate a competence for . . . old age” and certain
benefits acquired “within 25 years of retirement . . . would continue [to be paid]
beyond retirement”); DOL Op. Ltr. 79-33A, 1979 WL 6971 (plan designed to be
a “qualified” retirement plan and conditioned certain benefits on termination);
DOL Op. Ltr. 77-85, 1977 WL 5438 (plan designed “to provide . . . security in
retirement” and only permitted pre-retirement withdrawals of certain “employer
contributions”). Accordingly, the district court correctly disregarded these
opinion letters. R.1663-64.

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distributions, DOL Op. Ltr. 90-17A, 1990 WL 263441, at *2.             No such

circumstances exist here.

                  a.    The WAP’s Operation Does Not Skew Distributions
                        Toward Retirement Years.
      As the district court correctly concluded, although the WAP allowed some

participants to delay distributions until termination, this was not a result

compelled by “the operation or administration of the WAP.” R.1660. To the

contrary, the WAP was designed and operated such that distributions were

presumptively made before termination. Not only did Gift and Neuhaus receive

pre-termination distributions of their WAP benefits, but so too did up to 66

percent of their fellow WAP participants. Nothing about the WAP’s operation

or administration “skewed” distributions “towards the last years of participants’

careers.” DOL Adv. Op. 81-27A 1981 WL 17748, at *3.

      The Eighth Circuit’s decision in Emenegger strongly reinforces that

conclusion. There, the Eighth Circuit addressed a plan designed to retain key

employees by providing bonuses subject to vesting—much like the WAP. 197

F.3d at 931-32.    Participants received payment of their vested benefits at

“redemption value” upon “certain triggering events, such as retirement,

disability, death, termination without cause, or takeover.”         Id. at 932.

Alternatively, participants could choose to redeem their vested benefits while



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still employed and, if they did, would receive those benefits at redemption value

or the lesser “book value.” See id. at 932-33.13

       Based on these facts, the Eighth Circuit held that the plan was not an

employee pension benefit plan under ERISA. As the court explained, there

were “neither requirements set nor penalties threatened or imposed for a

participant’s redemption of [benefits] before his termination or retirement” and

thus nothing would “regularly compel participants to wait until they leave” the

company to receive distribution of their benefits. Id. at 933-34. The same

analysis is reflected in decisions of the Tenth and Third Circuits. See McKinsey,

986 F.2d at 406; Houston, 112 F. App’x at 136.

       And it applies here as well. Like the plan in Emmenegger, the WAP was

designed to incentivize key employees to remain with RBC by providing

bonuses subject to vesting. Although some participants could choose to delay

their distributions until termination, as in Emmenegger, there were absolutely no

“requirements” or “penalties” that would “compel” participants to do so. 197

F.3d at 933-34.      Thus, post-termination distributions resulted from pure

participant choice—“not the operation or administration of the WAP.” R.1660.


13
   Though somewhat unclear, it appears from the Eighth Circuit’s description that
while “original participants” could receive vested benefits while still employed at
“full redemption value,” all other participants could only do so at the lesser book
value. Emmenegger, 197 F.3d at 931-33.

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      Plaintiffs insist (at 44) that the district court misapplied Emmenegger.

They argue, principally, that Emmenegger is irrelevant because it addressed a

pure bonus plan, whereas the WAP provides bonuses alongside other incentives.

Plaintiffs claim that this distinction is critical because bonuses are exempt from

ERISA under the following regulation:

         [T]he terms “employee pension benefit plan” and “pension plan”
         shall not include payments made by an employer to some or all
         of its employees as bonuses for work performed, unless such
         payments are systematically deferred to the termination of
         covered employment or beyond, or so as to provide retirement
         income to employees.

29 C.F.R. § 2510.3-2(c) (emphasis added). Plaintiffs’ argument fails.

      For starters, while it is true that the WAP is not a “pure” bonus plan,

nothing in the above regulation requires purity. See Critelli, 2007 WL 749693,

at *1, 3-4 (evaluating under the bonus regulation a plan in which participants

could “defer[] payment of portions of [their] salary, and up to 100% of [their]

annual bonus, until a future date”). By its terms, the regulation excludes from

ERISA coverage any “bonuses for work performed,” unless such bonuses are

“systematically deferred” to termination. Here, it is undisputed that the WAP

did provide bonuses for work performed and that participation in the WAP was

itself a reward for the small percentage of employees who qualified.

      Furthermore, the above regulation is interpretive, not definitional.

Nowhere in ERISA or the relevant regulations is there any formal “bonus plan”

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definition. The bonus regulation is just one of several regulatory examples of

the types of arrangements that fall outside ERISA’s coverage.          29 C.F.R.

§ 2510.3-2(a) (noting that the section helps “clarif[y] the limits of the defined

terms ‘employee pension benefit plan’”). Thus, courts have applied the bonus

regulation to a variety of plan structures designed primarily to reward or

incentivize employees. See, e.g., Murphy, 611 F.2d at 575 (noting that plan

“participation rights were given to employee as ‘bonuses for work performed’”);

Hahn v. Nat’l Westminster Bank, N.A., 99 F. Supp. 2d 275, 279 (E.D.N.Y. 2000)

(applying bonus regulation because plan “was created to provide additional

compensation to current employees in recognition of their value”). Because the

WAP indisputably provided “bonuses for work performed” and awarded

participation rights only to employees who could meet its strict eligibility

requirements—with absolutely no “guarantee[]” that they would qualify from

one year to the next, Murpy, 611 F.2d at 575—the bonus regulation and cases

applying it are instructive.

      In all events, there is simply no getting around that Emmenegger involved

a plan with striking similarities to the WAP. While plaintiffs have tried hard to

distinguish some of the particulars, there is no avoiding the fact that both plans

were designed to reward and retain key employees; both plans awarded benefits

subject to vesting; and both plans allowed participants to receive distributions


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without any “restrictions” or “penalties” that would “compel” them to delay

distribution until retirement or termination. 197 F.3d at 931-34. Accordingly,

neither plan constitutes an “employee pension benefit plan” under ERISA.

                  b.     RBC Did Not Prevent Or Discourage Participants
                         From Receiving In-Service Distributions.
      Far from preventing or discouraging participants from receiving in-

service distributions, RBC required some participants to receive in-service

distributions and consistently encouraged everyone else to “[s]elect a

distribution option that works for you.” Doc. 91, Ex. 21 at 1; id., Ex. 22 at 1-2

(“[Y]ou can use your [WAP] distributions for any purpose.”). Nevertheless, the

option for some participants to defer WAP distributions until termination is

fleeting—if a participant does not timely submit a written election to defer until

termination, then the WAP mandates that his benefits be distributed

immediately upon vesting. R.45 § 5.3(b)(iv).

      Despite these undisputed facts, plaintiffs argue that surrounding

circumstances triggering ERISA coverage can be found in certain RBC

communications, which they claim “acknowledged” and “promoted” the WAP

as a retirement plan. Br. 37-40. The district court correctly rejected these

arguments. R.1660-62, 1664-66.

      Plaintiffs base their “acknowledgement” argument primarily on a

November 2008 email sent internally to certain directors. Br. 7 (citing Doc. 84,

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Tab 8); see also id. at 38-39. That email states that the WAP is “an important

part of the total rewards package offered at RBC” and is “integral to [RBC’s]

Finishing Well strategy.” Doc. 84, Tab 8. The email also notes that changes

were made to the WAP’s eligibility requirements to help ensure its satisfaction

of ERISA’s top-hat requirements. Id.14

       Plaintiffs’ reliance on this email is misplaced.           First, the email’s

suggestion that the WAP is a “retirement plan” is nowhere near sufficient to

establish ERISA coverage. See MDPhysicians & Assocs., Inc. v. State Bd. of

Ins., 957 F.2d 178, 183 n.7 (5th Cir. 1992) (holding that although plan

documents “all stated that ERISA controlled,” such statements were insufficient

to establish ERISA coverage). Moreover, as the district court recognized, the

email’s top-hat statements were entirely “consistent with the WAP’s own

language . . . which essentially stated that the WAP was not intended to be an



14
    Plaintiffs also attribute this statement to RBC: “A key objective of the WAP is
to enable top producers to retire well . . . .” Br. 7 (emphasis added). Plaintiffs cite
Tab 4 of their summary judgment appendix (id.), but that language appears
nowhere in Tab 4. Plaintiffs probably meant to cite an exhibit attached to their
response to RBC’s motion for summary judgment. See Doc. 93, Tab 24. But even
if they had cited it correctly, the exhibit shows that the quoted language above was
not made by RBC, but instead by a third-party consultant, Mercer. See id. Thus, it
is inadmissible hearsay. See Harris ex rel. Harris v. Pontotoc County Sch. Dist.,
635 F.3d 685, 692 (5th Cir. 2011) (“Hearsay . . . cannot be used to create a genuine
issue of material fact to avoid summary judgment.”).


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employee pension benefit plan under ERISA but, should it be held as such, that

it was intended to be a top hat plan.” R.1660-61.15

       Furthermore, the email’s generic statement that the WAP was “integral”

to RBC’s “Finishing Well strategy” is of no help to plaintiffs. 16 Nothing in that

email can even remotely be interpreted as discouraging participants from

receiving pre-termination distributions of their benefits.       Rather, the email

merely advises complex directors to “remind financial consultants approaching

a compensation production threshold of the financial benefits [including,

Productivity Bonuses] awaiting them once they surpass that threshold.” Doc.

84, Tab 8 at RBC001407; see also R.1661-62 (discussing the same email).

       Plaintiffs also get nowhere with their contention (at 43) that RBC

acknowledged the WAP as an ERISA pension plan when it “registered the WAP

as a ‘top hat’ plan with the U.S. Department of Labor.” In reality, the actual

record evidence—which plaintiffs do not cite—establishes that RBC simply

notified the DOL that “should [the WAP] be considered a pension plan under

15
   As the district court also recognized, R.1661, this same analysis applies to a
similar statement contained in an internal email from 2006 noted in plaintiffs’ brief
(at 8, citing Doc. 84, Tab 16). And it also applies to plaintiffs’ arguments
regarding an RBC communication addressing hypothetical questions and stating
that if the WAP were found not to be a valid top-hat plan, then it may have to be
terminated. See Br. 40.
16
    Plaintiffs proffered no evidence establishing what RBC’s “Finishing Well”
strategy entailed—they simply presume it relates exclusively to retirement.

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ERISA,” RBC believed it was an exempt top-hat plan.            Doc. 84, Tab 10

(emphasis added).     As the district court explained, this “statement evinces

nothing more than [RBC’s] well-documented position that the WAP was not an

ERISA pension plan, but that if it were at some point found to be an ERISA

pension plan, that it was an ERISA-exempt top hat plan.” R. 1669-70.17

       Plaintiffs’ argument that RBC “promoted” the WAP as a retirement plan

fails as well. Plaintiffs contend (at 8, 38), without citation, that RBC told

employees that the WAP “works hand-in-hand” with other retirement programs

and that it was part of a “menu of retirement savings.” A review of the record

evidence not cited by plaintiffs, however, discloses that they have taken their

quotations out of context. For example, a WAP summary from 2008 does not

state that the WAP was part of a “menu of retirement savings.” It states only

that RBC “offer[s] a menu of retirement savings and deferred compensation

vehicles that are among the most innovative and attractive in the industry.”

Doc. 91, Ex. 4 at RBC000199 (emphasis added). The WAP, of course, fell

within the latter category.18


17
    The same analysis disposes of plaintiffs’ contention (at 38) that the WAP must
be an ERISA plan because it sought to increase eligibility requirements to ensure
its compliance with ERISA’s top-hat exemptions.
18
   The statement that the WAP worked “hand-in-hand” with RBC’s 401(k) was
simply the heading contained in a section of the 2006 Plan summary explaining

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       Plaintiffs also contend (at 8) that RBC “emphasized” the option for some

participants to delay distributions until termination. The “evidence” plaintiffs

cite for this argument is a Q&A document that merely described—in neutral

terms—the distribution options available under the Plan. Doc. 84, Tab 8 at

RBC001408. As the district court recognized, neither this document nor any

others plaintiffs cite “encouraged one distribution election over the other.”

R.1662. Instead, RBC encouraged participants simply to “[s]elect a distribution

option that works for you.” Doc. 91, Ex. 21 at 1; see also id., Ex. 22 at 1-2.

                   c.    Only A Minority Of WAP Participants Elected To
                         Delay Distributions Until Termination.
       It is undisputed that the majority of WAP participants—between 51

percent and 66 percent—were slated to receive in-service distributions of WAP

benefits between 2007 and 2011.        It also is undisputed that both Gift and

Neuhaus received distributions of their WAP benefits while still employed at

RBC.    Nevertheless, without citing any authority, plaintiffs argue counter-

intuitively that the WAP is an ERISA pension plan because a minority “selected

retirement treatment every year.”      Br. 40-41.    The district court correctly

rejected this argument, and this Court should as well.

that IRS rules affected the amount WAP-eligible employees could contribute
annually to the company 401(k) plan. Doc. 93, Tab 26 at PL-00125. This lone
statement in no way “promoted” the WAP as a retirement plan or encouraged
participants to use it as one.


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      This Court’s decision in Boos is instructive. There, this Court addressed a

plan designed to provide discounted phone service to retirees. 643 F.3d at 134.

The Court readily concluded that this arrangement “provide[d] retirement

income” for some retirees covered by the plan, 643 F.3d at 134. The Court

nevertheless held that the plan was not an “employee pension benefit plan”

because retirement income was only “incidental” to the plan’s “primary thrust,”

and, “significant[ly],” because the plan did not provide retirement income to all

participants. Id.

      Similarly, in Houston, the Third Circuit held that a plan was not governed

by ERISA where the plaintiff had “intended to fund his retirement with [plan

benefits], and [where] the plan[] resulted in a deferral of a portion of his income

to his retirement date.” 112 F. App’x at 136. Relying on this Court’s decision

in Murphy, 611 F.2d 570, the court reasoned that “[t]he design of the plan at

issue, not the individual participants’ intended use of the proceeds, must be the

perspective from which the definition of ‘employee pension benefit plan’ is

determined.” Id. Because the plan was designed “to align key employees’

interests with those of” the company, the court held that a participant’s “choice”

to defer plan benefits to fund his retirement did not trigger ERISA coverage. Id.

      These cases confirm that it is not enough that a plan may “provide[]

retirement income” to some participants, see Boos, 643 F.3d at 134, or that


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some participants may intend to defer plan benefits for that purpose, see

Houston, 112 F. App’x at 136. The critical inquiry is whether the plan was

designed “for the purpose of providing” retirement or post-termination income

as a result of “surrounding circumstances.” Murphy, 611 F.3d at 575.

       Here, “the WAP’s flexible design allowed participants to use their

account balances as they saw fit, to meet their own individual needs.” R.1668.

This design was intended to maximize RBC’s ability to attract and retain key

employees amidst intense industry competition and to compete with comparable

plans offered by RBC competitors. That a minority of participants chose to

receive their benefits upon termination does not constitute a surrounding

circumstance transforming the WAP into an ERISA pension plan. See, e.g.,

Boos, 643 F.3d at 134; Houston, 112 F. App’x at 136.19


19
   Plaintiffs also contend that because “[r]etirees generally earn less than
employees” the WAP should be deemed a pension plan because participants
might be encouraged, for tax reasons, to delay distributions until retirement. Br.
41-42. This argument is untenable. Were it accepted, any plan that does not
absolutely bar deferring receipt of benefits to termination would be governed by
ERISA. Not surprisingly, that is not the law.

   Although plaintiffs cite Meinen yet again, the tax consequences addressed there
were those imposed under IRC § 72(t)—a 10 percent tax penalty on early
withdrawals from qualified retirement plans. 228 B.R. at 381; 26 U.S.C. § 72(t).
Moreover, as the district court correctly recognized, IRC § 72(t) was only relevant
in Meinen because the court had already determined that the plan was governed by
ERISA. R.1668-69. Plaintiffs’ reliance on Holansky (at 22, 41) is misplaced for
the same reason.

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       C.    The District Court’s Decision Is Faithful To The Policies
             Underlying ERISA’s Regulation Of Pension Benefits.
       Plaintiffs dramatically argue that if the district court’s decision stands, it

will “deny ERISA protection to thousands of ERISA plans, making those plans

riskier for employees and discouraging employees from using them to save for

their retirement.” Br. 50. Nothing could be further from the truth. The district

court’s holding in no way affects plans designed for the primary purpose of

paying retirement or post-termination income, or plans that allow some limited

“early withdrawals” of vested benefits—like many 401(k) and other widely-

recognized pension plans. To the contrary, the district court carefully tailored

its analysis and holding to the particular terms and circumstances of the WAP—

a plan plaintiffs admit was designed to “attract, retain, and develop” employees

by providing “compensation” in a manner unique to the industry, Doc. 84 at 6.20

       Similarly unfounded is plaintiffs’ criticism (at 15-17) that the district

court failed to construe ERISA “liberally.” Br. 15-17. This Court has long

recognized that ERISA is not intended to address every benefit plan offered to

employees. Murphy, 611 F.2d at 574. It was enacted to address plans that

promised retirement benefits but lacked protections ensuring the eventual

20
   Plaintiffs devote a section of their brief to the proposition that a limited early
withdrawal option—subject to tax penalties and other restrictions—in a standard
issue pension plan does not foreclose ERISA coverage. Br. 34-35. But this case
indisputably does not involve a plan or an option of that type. R.1663.

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payment of those benefits. Id. ERISA thus is not intended to regulate plans that

have as their “primary thrust” something other than providing retirement

benefits—even when those plans may, in some instances, result in the payment

of retirement or post-termination income. Id. Because the WAP indisputably

falls within this latter category, the district court’s determination that it is not an

employee pension benefit plan is both correct and entirely consistent with the

policies underlying ERISA.

II.     This Court May, Alternatively, Affirm The District Court’s Judgment
        Based On ERISA’s Top-Hat Exemptions.21
        A top-hat plan must be (1) “unfunded” and (2) “maintained primarily for

the purpose of providing deferred compensation for a select group of

management or highly compensated employees.” Reliable Home Health Care,

295 F.3d at 512; 29 U.S.C. §§ 1101(a)(1), 1051(2), 1081(a)(3). If the WAP

satisfied these requirements, then it is exempt from ERISA’s vesting, funding,

and fiduciary duty provisions and plaintiffs’ claims necessarily fail. Id.



21
   Plaintiffs affirmatively challenge (at 61-68) several of RBC’s other alternative
summary judgment arguments from below. None of plaintiffs’ challeges presents
grounds for reversal, but instead relate to RBC’s alternative defenses that the
district court did not address and that this Court need not reach unless it reverses
the district court and further rejects the alternative grounds for affirmance on the
top-hat issue. In that event, the proper course would be to remand and allow the
district court to address those defenses in the first instance. Accordingly, RBC has
not addressed these ancillary issues here.

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      The parties agree that the first top-hat requirement—that the plan be

“unfunded”—is satisfied. Doc. 84 at 28; Doc. 91 at 27-28. As shown below,

the second requirement is satisfied as well. The top-hat issue thus presents

another ground for affirmance. See, e.g., Doody v. Ameriquest Mortgage Co.,

242 F.3d 286, 289 (5th Cir. 2001) (“We are required . . . to affirm the district

court’s judgment if it was correct, even if for a reason not articulated.”).

      A.     The WAP Was Maintained For A Select Group Of Highly
             Compensated Employees.
      Courts have developed a series of “quantitative and qualitative” tests for

determining whether a plan is maintained for “a select group of management or

highly compensated employees.” Daft v. Advest, Inc., 658 F.3d 583, 595 (6th

Cir. 2011); see also Alexander v. Brigham & Women’s Physicians Org., Inc.,

513 F.3d 37, 44-46 (1st Cir. 2008); Demery v. Extebank Deferred Comp. Plan

(B), 216 F.3d 283, 288-89 (2d Cir. 2000). First, the “select group” requirement

is determined quantitatively by calculating the percentage of the plan sponsor’s

“total workforce” that is eligible for the plan. Id. Second, the “management or

highly compensated employees” requirement is determined through a qualitative

analysis   of   eligible   employees’   duties   (for   “management”)      or   their

compensation relative to the workforce (for “highly compensated”). Id. Third,

the plan’s language and purpose are evaluated to ensure that both accord with

the top-hat requirements. Id.

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      Plaintiffs’ brief makes no mention of these established tests for

determining a plan’s top-hat status. This is not surprising. Any straightforward

application of these tests demonstrates that, if the WAP is an ERISA plan, it is

an exempt top-hat plan.

             1.     A Small Fraction Of Employees Qualified For The WAP.
      Under the quantitative test above, courts hold that plans are maintained

for a “select group” where around 15 percent or less of the plan sponsor’s

workforce is eligible to participate. See, e.g., Demery, 216 F.3d at 289 (holding

“select group” requirement satisfied where 15.34 percent of total workforce was

eligible); Alexander, 513 F.3d at 44 (same where 8.7 percent of the total

workforce was eligible); Callan v. Merrill Lynch & Co., Inc., 2010 WL

3452371, at *10 (S.D. Cal. Aug. 30, 2010) (“[P]lans that limit participation to

15 [percent] or less of the workforce have consistently been treated as top hat

plans.”). Here, just 2.84 percent of the total RBC-Royal Bank workforce

qualified for the WAP, see supra at 9, and thus the “select group” requirement is

easily satisfied.

      Recognizing their dilemma, plaintiffs argue (at 57-58) that the 2.85

percent eligibility rate is erroneous because it includes in the “total workforce”

Royal Bank employees who worked or resided in Canada and thus failed the




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WAP’s first eligibility requirement. Plaintiffs offer no authority supporting

their contention, and none exists.

      In evaluating whether a plan is maintained for a “select group,” courts

consider both the “actual language of the plan” and the “total workforce” of its

plan sponsors. Daft, 658 F.3d at 595; Callan, 2010 WL 3452371, at *10-12. By

its terms, the WAP is available to “employees of Royal Bank,” R.34 § 1.1, and

RBC who satisfy its annual eligibility requirements, see R.36 (“Employer”) &

R. 38 § 2.1(a).   And it is undisputed that Royal Bank employees regularly

qualified for and participated in the WAP. Doc. 95, Ex. B ¶4. That the WAP’s

non-financial eligibility requirement disqualified many Royal Bank employees

does not justify excluding them from the “select group” analysis any more than

other employees’ failure to satisfy the WAP’s financial eligibility requirements

justifies excluding them from the analysis. After all, both requirements are

designed to limit the WAP to a “select group” of employees.

      Moreover, inclusion of Royal Bank employees in the “select group”

analysis accords with the First Circuit’s treatment of the issue in Alexander.

There, the court held that a plan was maintained for a “select group” where 8.7

percent of all hospital employees were eligible to participate. 513 F.3d at 44-

46. It made no difference that the plan was offered only to those employees

who were “surgeons . . . [and] full-time faculty at Harvard Medical School,”


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Alexander v. Brigham & Women’s Physicians Org., Inc., 467 F. Supp. 2d 136,

140 (D. Mass. 2006)—a non-financial eligibility requirement that necessarily

disqualified most hospital employees, see Alexander, 513 F.3d at 40-41.

Likewise, it should make no difference here that the WAP’s non-financial

eligibility requirement disqualified many—but certainly not all—Royal Bank

employees.

       Regardless, even when Royal Bank employees are excluded, it remains

clear that the WAP was limited to a “select group.” Considering only the RBC

workforce, the WAP’s overall eligibility rate was just 13.39 percent, and is thus

in-line with eligibility rates of other valid top-hat plans. See Demery, 216 F.3d

at 289; Callan, 2010 WL 3452371, at *10.22

             2.    WAP-Eligible Employees Were Highly Compensated.
       To determine whether a plan is maintained for “highly compensated”

employees, courts compare eligible employees’ compensation to that of either

all non-eligible employees or the workforce as a whole. Compare Daft, 658

F.3d at 595 (courts should consider “the compensation disparity between top hat

22
   Plaintiffs’ expert generated alternative eligibility percentages, but in doing so
ignored the WAP’s eligibility determination process and incorrectly assumed that
the WAP was available only to employees hired before the start of each plan year.
Doc. 91, Ex. 18 ¶¶7-17. Although his percentages are therefore unreliable, even
under his flawed approach, the WAP’s overall eligibility rate for the years
examined was just 15.51 percent, id. ¶ 46—which is in line with the plan deemed
sufficiently “select” in Demery.

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plan members and non-members”), with Demery, 216 F.3d at 289 (comparing

the “average salary of plan participants” to “the average salary of all [plan

sponsor] employees”) and Callan, 2010 WL 3452371, at *11 (applying both

analyses but endorsing the former). Under either analysis, courts hold that

eligible employees are “highly compensated” if they earn more than double the

comparison group. See, e.g., Demery, 216 F.3d at 289; Alexander, 513 F.3d at

46; Callan, 2010 WL 3452371, at *11; Cramer v. Appalachian Reg’l

Healthcare, Inc., 2012 WL 5332471, at *5 (E.D. Ky. Oct. 29, 2012).

      The WAP easily satisfies this standard. Even when the analysis is limited

to the RBC workforce, WAP eligible employees earned between 3.7 and 6.4

times more than all non-eligible employees and between 2.2 and 3.7 times more

than the workforce as a whole. Doc. 91, Ex. 19 ¶¶35, 40. The compensation

disparity only grows when Royal Bank employees are properly included in the

analysis.   Id., Ex. 18 ¶¶53-54.   Accordingly, the WAP was maintained for

highly compensated employees.

             3.     The WAP’s Language And Purpose Support Application
                    Of The Top-Hat Exemptions.
      The WAP’s language and purpose are fully consistent with ERISA’s top-

hat requirements.    With respect to plan language, the WAP was expressly

designed so that in the “unintended” event it might be determined to be an



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“employee pension benefit plan,” it would constitute an exempt top-hat plan.

R.48 § 5.11. This language plainly accords with ERISA’s top-hat exemptions.

      The primary purpose of the WAP also is consistent with the top-hat

exemptions. In Demery, the Second Circuit noted that the subject plan “was

established as a means to retain valuable employees” and was offered in

addition to—not as a “substitute” for—a separate pension plan. 216 F.3d at 287

(quotations omitted). The Second Circuit held that “[t]hese factors must weigh

in favor of classifying the [p]lan as a top hat plan.” Id.; accord Alexander, 513

F.3d at 40 (top-hat plan was designed “to recruit and retain top-flight

surgeons”).

      So too here. Not only is it undisputed that the WAP was “created and

maintained” to “recruit, retain, and develop” valuable employees, Doc. 84 at 6,

but it also is undisputed that RBC offered employees a separate 401(k) plan so

that they could save for retirement, Doc. 91, Ex. 1 at 141:15-25. Thus, the

WAP’s primary purpose supports application of ERISA’ top-hat exemptions.

      B.      Plaintiffs’ Contrary Arguments Are Without Merit.
      Plaintiffs make three principal arguments that the WAP does not satisfy

the top-hat requirements: (1) the WAP was not maintained for a “select group”

under Carrabba v. Randalls Food Markets, Inc., 38 F. Supp. 2d 468 (N.D. Tex.

1999), aff’d 252 F.3d 721 (5th Cir. 2001); (2) the WAP’s production-based


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eligibility requirement is “illegal;” and (3) WAP participants lacked “substantial

influence.” Br. 53-57, 59-60. None withstands scrutiny.

             1.    This Case Is Not Carrabba.
       Plaintiffs rely heavily on Carrabba to argue that the WAP was not

maintained for a “select group.” Br. 52-54. But Carrabba is distinguishable

and does nothing to undermine the conclusion that the WAP may, alternatively,

be classified as a top-hat plan.

       The district court in Carrabba, after a bench trial, held that a plan

expressly designed “to provide death and retirement benefits” to grocery store

employees was not a top-hat plan. 38 F. Supp. 2d at 470, 478. In reaching this

holding, the court emphasized two things. First, the court lamented the lack of

interpretive authority concerning “the meaning of the words ‘a select group,’ as

used in the statute.” Id. at 478. Second, the court emphasized the lack of

evidence suggesting that the plan was limited to a select group of either

management or highly compensated employees. Id. Indeed, the record showed

that (1) “all salaried employees” were “invited to participate in the plan,” and

(2) eligible employees earned as little as $11,180 annually. Id. at 473.23




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  The $11,180 figure is in 1974 dollars, and is equivalent to approximately
$53,000 in 2013 dollars.

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      The situation here is fundamentally different.      First, since Carrabba,

courts have developed an analytical framework for determining whether a plan

satisfies ERISA’s top-hat requirements. See supra at 48. This framework,

which plaintiffs conspicuously ignore, provides the tools needed to give effect

to the “down-selection” principle plaintiffs infer from Carrabba. Br. 53.

      Second, unlike in Carrabba, there is a wealth of evidence showing that

the WAP was in fact maintained for a select group of highly compensated

employees. See supra at 49-52. Far from permitting “all salaried employees”

to participate, the WAP’s eligibility requirements ensured that only a fraction of

the workforce ever qualified for the WAP and that those who did earned many

times more than those who did not. Cf. Demery, 216 F.3d at 285, 289-89 (top-

hat plan found where eligibility was offered to “bank officers” and “managers”

regardless of pay); Alexander, 513 F.3d at 40-41 (same where eligibility was

based on surgeons generating a minimum level of revenue for the hospital);

Callan, 2010 WL 3452371, at *10 (same where eligibility was based on “level

of eligible compensation”).

            2.    Production Is Not An “Illegal” Eligibility Requirement.
      Plaintiffs next argue that the annual “production” threshold used to

determine WAP eligibility for employees paid on a commission basis was

“illegal” because it resulted in some employees, including financial consultants,


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qualifying for the WAP even though their commission-based earnings were

below the annual compensation threshold used to determine WAP eligibility for

salaried employees. Br. 54-57. This argument is flawed on several levels.

      First, plaintiffs cite no authority for the proposition that employers must

use equivalent eligibility requirements for all top-hat plan participants. That is

not surprising, as nothing in the statutory language prescribes the eligibility

criteria an employer must use for a top-hat plan. See 29 U.S.C. § 1101(a)(1).

Courts instead look to whether, as a result of whatever eligibility requirements

are used, the plan operates for the primary benefit of highly compensated

employees. In Demery, for instance, the Second Circuit held that a plan was

maintained primarily for highly compensated employees, despite that its

eligibility requirements had nothing to do with employee compensation. See

216 F.3d at 285, 289; see also Alexander, 513 F.3d at 40-41 (top-hat plan was

maintained for “highly compensated employees” where eligibility turned on

revenue surgeons generated for the hospital).

      Second, it would make little sense for RBC to use something other than

production to determine WAP eligibility for financial consultants. Production is

the critical metric that RBC uses to evaluate these key employees—the very




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same metric used to determine their annual productivity and loyalty bonuses.

See supra at 4.24

       Third, it makes no difference that a financial consultant might qualify for

the WAP even though his commission-based earnings fall below the

compensation threshold used for salaried employees. For starters, a substantial

portion of financial consultant pay—namely, productivity bonuses and loyalty

bonuses—is not reflected in commission earnings. Moreover, financial

consultants are exceedingly valuable employees. Not only are they directly

responsible for generating billions in revenue for RBC, but when they leave a

firm they take that revenue with them. Accordingly, it is logical and lawful that

financial consultants are subject to their own WAP eligibility thresholds.

       Fourth, there is no real question that financial consultants and other

employees who qualify for the WAP based on production are highly

compensated. Between 2002 and 2010, these employees earned on average

$211,772 to $306,523 per year—or between 2.9 and 4.0 times more than all

non-WAP eligible RBC employees. Doc. 91, Ex. 19 ¶45.


24
    Plaintiffs claim (at 9) that “every year hundreds” of financial consultants “were
allowed to participate” in the WAP “although they could not meet the
compensation threshold” used for salaried employees. In support, they cite a chart
created by their expert. See Doc. 121, Ex. A-2. This chart is not based on actual
financial consultant compensation, but on estimated commission earnings exclusive
of annual bonuses. Id. Thus, it is meaningless.

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             3.    Though Not Required By The Top-Hat Exemptions, WAP
                   Participants Have Substantial Influence.
       In a 1990 opinion letter, the DOL expressed its “view . . . that in

providing relief for ‘top hat’ plans . . . , Congress recognized that certain

individuals, by virtue of their position or compensation level, have the ability to

affect or substantially influence, through negotiation or otherwise, the design

and operation of their deferred compensation plan[.]” DOL Op. Ltr. 90-14A,

1990 WL 123933, at *1 (emphasis added).25 This Court and others have since

referenced the DOL’s letter in discussing the top-hat exemptions. See, e.g.,

Spacek v. Maritime Ass’n, 134 F.3d 283, 296 n.12 (5th Cir. 1998); Alexander,

513 F.3d at 47.

       From these references, plaintiffs make the leap that only those plans in

which each participant can bargain individually for personalized plan terms

satisfy ERISA’s top-hat exemptions.       Br. 59-60.    This attempt to infer “a

nascent requirement that every employee covered by a top-hat plan possess the

power to negotiate the terms of that plan is simply too much of a stretch,” and

was therefore squarely rejected by the First Circuit. Alexander, 513 F.3d at 47.


25
    Because the DOL has never issued any regulations concerning application or
interpretation of ERISA’s top-hat exemptions, it typically declines to provide
guidance as to whether any specific plan satisfies those exemptions. See, e.g.,
DOL Op. Ltr. 98-02A, 1998 WL 103654, at *2; DOL Op. Ltr. 81-27A, 1981 WL
17748, at *4.

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No court has ever held “that when an otherwise valid top-hat plan is offered to a

‘select group of management or highly compensated employees,’ that plan will

lose its exempt status if any one of the covered employees lacks individual

bargaining power.” Id. at 48 n.9.

      Nevertheless, plaintiffs argue that “Fifth Circuit law” imposes such a

requirement.    They rely on this Court’s two-sentence per curiam order

affirming, in one stroke, several decisions issued in Carrabba. 252 F.3d 721

(5th Cir. 2001). But even the district court in Carrabba declined to adopt the

individual bargaining power test plaintiffs advance. While that court noted in

dicta that the DOL’s letter above was “[p]erhaps” useful, its actual holding was

more limited: “The furthest the court can go is to express the conclusion that it

cannot find from the evidence that the participants of the [plan] were ‘a select

group’[.]” 38 F. Supp. 2d at 478. The district court’s dicta is not “Fifth Circuit

law.” See SDJ, Inc. v. Houston, 841 F.2d 107, 108 (5th Cir. 1988) (a summary

order “affirms only the judgment of the court below”).

      In any event, WAP participants did wield “substantial influence.” As

discussed supra at 49-52, both quantitative and qualitative analyses show that

the WAP was restricted to a “select group” of “highly compensated employees,”

29 U.S.C. § 1101(a)(1) (emphasis added).          This is particularly relevant

considering that the top-hat exemptions themselves speak in terms of “groups”


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of employees—not individuals. See, e.g., Alexander, 513 F.3d at 48 (“These

cases recognize the sensible proposition that it is the configuration of the group

as a whole that controls. If . . . Congress was singularly concerned with an

individual’s ability to fend for himself or herself, we think it unlikely that

Congress would have framed the statute in terms of ‘groups’ at all.”).

      It also is undisputed that WAP participants repeatedly and successfully

lobbied for various changes to the WAP, including, for example, increased

Productivity Bonuses. Doc. 91, Ex. 3 ¶9. Tolbert’s partner Brazelton testified

that he personally suggested changes to the Plan’s investment fund menu, id.,

Ex. 11 at 52:23-53:22, and it is undisputed that such changes were made to the

WAP, id., Ex. 3 ¶9. Cf. Demery, 216 F.3d at 289-90 (affirming top-hat status

even though record was “silent” as to substantial influence); Cramer, 2012 WL

5332471, at *6 (same).

      Furthermore, plaintiffs themselves possessed the ability to “substantially

influence” the WAP through “negotiation or otherwise.” DOL Op. Ltr. 90-14A,

1990 WL 123933, at *1 (emphasis added). Take Neuhaus for example. When

he was recruited to RBC, he was able to personally negotiate his financial

compensation and signing bonus. Moreover, when he later left RBC for rival

Morgan Stanley, he took his $300 million book of business, the vast majority of

his clients, and key members of his team along with him. Supra at 10-11. If


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this is not evidence of “substantial influence,” then it is difficult to fathom what

would be. Cf. Alexander, 467 F. Supp. 2d at 147 (reasoning that top-hat plan

status was reinforced by the fact that the plan “was established as a result of the

threat that profitable surgeon[s] would leave” and was “revised” based on a plan

participant “proposal”), aff’d 513 F.3d 37.

      In sum, the WAP is a top-hat plan exempt from ERISA’s fiduciary duty

obligations and the district court’s decision can be affirmed on that alternative,

independent basis.

                                 CONCLUSION
      For the foregoing reasons, the district court’s grant of summary judgment

to RBC should be affirmed.

                                             Respectfully submitted,

                                             by: /s/ Christopher J. Boran


   Allyson N. Ho                                Sari M. Alamuddin
   MORGAN, LEWIS & BOCKIUS LLP                  Christopher J. Boran
   1717 Main Street, Suite 3200                 Matthew A. Russell
   Dallas, Texas 75201-7347                     MORGAN, LEWIS & BOCKIUS LLP
   214.466.4000                                 77 West Wacker Drive, Fifth Floor
                                                Chicago, Illinois 60601
                                                312.324.1146

                        Attorneys for Defendants-Appellees




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                      CERTIFICATE OF SERVICE

     I certify that a copy of the foregoing Brief of Defendants-Appellees was

filed using this Court’s CM/ECF system and thus served by the Court’s

CM/ECF system by deliver to the following on October 16, 2013:

                 Joe B. Harrison
                 William G. Whitehill
                 Stacy R. Obenhaus
                 Gardere Wynne Sewell LLP
                 1601 Elm Street, Suite 3000
                 Dallas, Texas 75201
                 sobenhaus@gardere.com
                 bwhitehill@gardere.com


                 Geoffrey H. Bracken
                 Gardere Wynne Sewell LLP
                 1000 Louisiana Street, Suite 3300
                 Houston, Texas 77002
                 gbracken@gardere.com




                                         by: /s/ Christopher J. Boran




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